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USER: MT                         Medication Administration Summary

Patient                                         Resp:msible Doctor LITTMAN,MARIO, MD
Account Hllllher FAi3b7223b89       Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex          37/M               Rooa       411                Registered Date 10/07/16
Status           DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                           (Continued)

10/28/16    0831 FICARTEN      y                                       1             0.00
(10/28/16) (0900) Dose: 100 MG

10/29/16    0902 FIHALLAM      y                                       1             0. 0 0
(10/29/16) (0900) Dose: 100 MG

10/30/16    0825 FIBLEIU.      y                                       1             0. 0 0
(10/30/16) (0900) Dose: 100 MG

10/31/16    0857 FIMOSLEK      y                                       1             0.00
(10/31/16) (0900) Dose: 100 MG

ll/Ol/16     1036 FIHALUM       y                                      1             0.00
( ll/Ol/16) (0900) Dose: 100 MG


  AdJain Totals                                                        7                   0
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USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account Huaher · FAi3bi223o89 · ·   Location   FI4PVA             Unit HWllber    F001250247
Age/Sex          37/M               Reem       411                Registered Date 10/07/16
Status           DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)


MULT-136 - MULTIVITAMINS TABLET

  Dose        1 TAB (1 TABLET)
  Adain Route PO
  Start Date 10/26/16-0900        Stop Date None                    DC Date ll/Ol/16-2054
  Ordering Doctor     MANN,RUPINDER K MD
  Total Dispensed     7           Total Costs $0.21                  Total Charges $7.35
  Rx Hu:aber  001894443

  Discontinue eo._.ents DC'd by Discharge


  History
   10/26/16 0715 - POM ORDER                         by COMANNR
   10/26/16 0717 - VERIFIED                          by FIANDERC
   10/26/16 0953 - DEBIT                             by DGILMAN
         ITEMS: 1     DOSES: 1
   10/27/16 0816 - DEBIT                             by MMAXWELL
         ITEMS: 1     DOSES: 1
   10/28/16 0828 - DEBIT                             by NC ARTER
         ITEMS: 1     DOSES: 1
   10/29/16 0840 - DEBIT                             by MHALLAMY
         ITEMS: 1     DOSES: 1
   10/30/16 0731 - DEBIT                             by ABLE ILER
         ITEMS: 1     DOSES: 1
   10/31/16 0845 - DEBIT                             by KM OSLEY
        ITEMS: 1      DOSES: 1
   ll/Ol/16 1024 - DEBIT                             by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                       by DISCHARGE     Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge
Achlin Date Ti-.e User      Given Bag Reason Code                   Item.s        Charqe
10/26/16    1001 FIGILMAD     y                                          1          0. 0 0
(10/26/16) (0900) Dose: 1 TAB
10/27/16     0826 FIMAXWEM     y                                        1            0. 0 0
( 10/27/16) (0900) Dose: 1 TAB
10/28/16    0831 FICARTEN     y                                         1            0.00
(10/28/16) (0900) Dose: 1 TAB

10/29/16    0901 FIHALLAM     y                                         1            0. 0 0
(10/29/16) (0900) Dose: 1 TAB
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USER: MT                       Medication Administration Summary
Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FAi'.367223089 .   Location   FI4PVA             Unit Humber     F001250247
Age/Sex        37/M               Rooa       411                Registered Date 10/07/16
Status         DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 Fl!.1307223089                         (Continued)

10/30/16    0826 FIBLEILA     y                                      1             0.00
(10/30/16) (0900) Dose: 1 TAB

10/31/16    0856 FIMOSLEI<    y                                      1             0. 0 0
(10/31/16) (0900) Dose: 1 TAB

ll/Ol/16    1035 FIHALLAM     y                                      1             0.00
(ll/Ol/16) (0900) Dose: 1 TAB


  Achin Totals                                                       7                   0
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USER: MT                          Medication Administration Summary

Patient                                           Resp:msible Doctor LITTMAN.MARIO, MD
Account Hlll\ber.FA13o7223o89      Lcx::;ation   FI4PVA             Unit HW11.ber   F001250247
Age/Sex           37/M             Rooa          411                Registered Date 10/07/16
Status            DIS IN           Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                              (Continued)


NYSTlOOSM - Nystatin 500 MU/5 ML SUSPENSION

  Dose            500 MU   (5 ML)
  Dose Instruction         SWISH AND SWALLOW
  A.ch.in Route PO
  Start Date 10/26/16-1700          Stop Date None                    DC Date 10/27/16-1348
  Ordering Doctor       MANN,RUPINDER K MD
  Clinical Indication SKIN & SOFT TISSUE
  Total Dispensed       3           Total Costs $2.79                  Total Charges $5.85
  Rx Nuaber     001895070



  History
   10/26/16 1602 - POM COPY AND EDIT                   by COMANNR
      FROM: Rx #001889974
   10/26/16 1613 - VERIFIED                           by FIL INC
   10/26/16 1806 - DEBIT                              by TNOGA
        ITEMS: 1     DOSES: 1
   10/26/16 2121 - DEBIT                               by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/27/16 0819 - DEBIT                              by MMAXWELL
        ITEMS: 1     DOSES: 1
   10/27/16 1350 - DISCONTINUE                         by COGILBEM      Eff: 10/27/16 1348
      EDIT DOCTOR: GILBERT.MARK, MD
      EDIT SOURCE: Provider Source

Adm.in Date TiJD.e User     Given Bag Reason Code                     IteJts         Charge
10/26/16    1746 FINOGAT       y                                          1            0.00
(10/26/16) (1700) Dose: 500 MU

10/26/16    1848 FINOGAT       y                                          1             0. 0 0
(10/26/16) (2100) Dose: 500 MU

10/27/16    0826 FIMAXWEM      y                                          1             0.00
(10/27/16) (0900) Dose: 500 MU

10/27/16    1300 FISTASKJ         N         DC
(10/27/16) (1300) Dose: 0 MU


  Ach.in Totals                                                           3                   0
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USER: MT                          Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account HUJlber FA1307223089       Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex         37/M               Rooa       411                Registered Date 10/07/16
Status          DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                             (Continued)


ACET325T10 - Acetaminophen 325 MG TABLET (TYLENOL)

  Dose        650 MG (2 TABLETS)
  Adain Route PO
  Frequency   Q4H (PRN) PAR= PRN REASON: FEVER OR PAIN 1-3
  Start Date 10/27/16-0830        Stop Date None                     DC Date ll/Ol/16-2054
  Ordering Doctor     IRIARTE OPORTO.BLANCA E MD
  Total Dispensed     22          Total Costs $0.33                   Total Charges $23.10
  Rx Nuaber   001895580

  Discontinue Coaaents DC'd by Discharge


  History
   10/27/16 0822 - POM ORDER                        by COIRIATB
   10/27/16 0827 - VERIFIED                         by FIANDERC
   10/27/16 0845 - DEBIT                            by MMAXWELL
         ITEMS: 2     DOSES: 1
   10/29/16 0437 - DEBIT                            by JAEKIM
         ITEMS: 2     DOSES: 1
   10/29/16 1709 - DEBIT                            by MHALLAMY
         ITEMS: 2     DOSES: 1
   10/30/16 0613 - DEBIT                            by KS KANE
        ITEMS: 2      DOSES: 1
   10/30/16 1531 - DEBIT                            by ABLE ILER
         ITEMS: 2     DOSES: 1
   10/30/16 1904 - DEBIT                            by ABLE ILER
        ITEMS: 2      DOSES: 1
   10/31/16 0026 - DEBIT                            by DTAGOE
         ITEMS: 2     DOSES: 1
   10/31/16 0628 - DEBIT                            by DTAGOE
         ITEMS: 2     DOSES: 1
   10/31/16 1901 - DEBIT                            by KM OSLEY
        ITEMS: 2      DOSES: 1
   ll/Ol/16 1324 - DEBIT                            by MHALLAMY
         ITEMS: 2     DOSES: 1
   ll/Ol/16 1729 - DEBIT                            by MHALLAMY
         ITEMS: 2     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                      by DISCH.A.RGE     Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge

Ad.JI.in Date   Tiae User        Given Bag Reason Code               I tens        Charge
10/27/16        0851 FIMAXWEM       Y                                    2
                       Dose: 650 MG
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USER: MT                            Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Humber 'Fii.i3oi22:fri89     Location   FI4PVA             Unit NUJD.ber   F001250247
Age/Sex        37/M                  Rooa       411                Registered Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                           (Continued)

10/29/16      0444 FIKIMJ        y                                        2
                    Dose: 650 MG

10/29/16      1709 FIHAlLAM      y                                        2
                    Dose: 650 MG

10/29/16      1821 FIHALLAM     N
                    Dose: 650 MG

10/30/16      0615 FISKANEK      y                                        2
                    Dose: 650 MG

10/30/16      1531 FIBLEIU.      y                                        2
                    Dose: 650 MG

10/30/16      1906 FIBLEILA      y                                        2
                    Dose: 650 MG

10/31/16      0032 FITAGOED      y                                        2
                    Dose: 650 MG

10/31/16      0648 FITAGOED      y                                        2
                    Dose: 650 MG

10/31/16      1902 FIMOSLEK      y                                        2
                    Dose: 650 MG

11/01/16      1331 FIHALLAM      y                                        2
                    Dose: 650 MG

11/01/16      1735 FIHALLAM      y                                        2
                    Dose: 650 MG


  Ad.in Totals                                                         22
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USER: MT                         Medication Administration Summary

Patient                                       Res1x:msible Doctor LITTMAN.MARIO, MD
Account Hllllher FA1307223089     L~tion     FI4PVA              Unit Humber     F001250247
Age/Sex          37/M             Roc:m      411                 Registered Date 10/07/16
Status           DIS IN           Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


CARV3.12 - CARVEDILOL 3.125 MG TABLET

  Dose         3.125 MG (1 TABLET)
  Dose Instruction     Hold for SBP <100, HR<60
  Achain Route PO
  Start Date 10/27/16-2100         Stop Date 10/27/16 2100       DC Date 10/27/16-2100
  Ordering Doctor      JILANI,ABUBAKER K MD
  Total Dispensed      0           Total Costs $                  Total Charges $
  Rx Nuaber    001895875



  History
   10/27/16 1319 - POM ORDER                   by COJILANA
   10/27/16 1320 - EDIT                        by COJILANA
      EDIT DOCTOR: JILANI,ABUBAKER K MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/27/16-2100   STOP: None   SOFT STOP:
      TO:
        START: 10/27/16-2100   STOP: 10/27/16-2100   SOFT STOP:
   10/27/16 1320 - VERIFIED                    by SYSTEM
      Verified in order to DC
   10/27/16 1320 - DISCONTINUE                 by COJILANA      Eff: 10/27/16 210 0
      EDIT DOCTOR: JILANI,ABUBAKER K MD
      EDIT SOURCE: Provider Source
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USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hu..ber FA1307223089     Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


MET025TA5 - METOPROLOL TARTRATE 25 MG TABLET (LOPRESSOR)

  Dose         6.25 MG (0.25 TABLETS)
  Dose  Instruction    Hold for SBP<100, HR<60
  Adm.in Route PO
  Start Date 10/27/16-2100         Stop Date None                DC Date 11/01/16-2054
  Ordering Doctor      JILANI,ABUBAKER K MD
  Total Dispensed      10          Total Costs $0.50              Total Charges $10.50
  Rx Nuaber    001895879

  Discontinue Co. .ents DC'd by Discharge


  History
   10/27/16 1320 - POM ORDER                      by COJILANA
   10/27/16 1325 - VERIFIED                       by FIL INC
   10/27/16 2145 - DEBIT                          by JDESALVO
        ITEMS: 1     DOSES: 1
   10/28/16 0827 - DEBIT                          by NC ARTER
        ITEMS: 1     DOSES: 1
   10/28/16 2118 - DEBIT                          by JAEKIM
        ITEMS: 1     DOSES: 1
   10/29/16 0841 - DEBIT                          by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/29/16 2055 - DEBIT                          by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 0731 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 2015 - DEBIT                          by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0845 - DEBIT                          by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 2039 - DEBIT                          by DTAGOE
        ITEMS: 1     DOSES: 1
   11/01/16 1024 - DEBIT                          by MHALL.AMY
        ITEMS: 1     DOSES: 1
   11/01/16 2055 - DISCONTINUE                    by DISCHARGE     Eff: 11/01/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge

Adm.in Date Tiae User        Given Bag Reason Code               Iten.s         Charge
10/27/16    2100 FIDESALJ      N       REFUSED
(10/27/16) (2100) Dose: 0 MG

10/28/16    0831 FICARTEN     Y                                       1            0. 0 0
(10/28/16) (0900) Dose: 6.25 MG
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USER: MT                       Medication Administration Summary

Patient                                        Resp:>nsible Doctor LITTMAN.MARIO, MD
Account Humber FA1307223089        Location   FI4PVA              Unit Number     F001250247
Age/Sex        37/M                ROOll      411                 Registered Date 10/07/16
Status         DIS IN              Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


10/28/16    2122 FIKIMJ       y                                       1             0. 0 0
(10/28/16) (2100) Dose: 6.25 MG

10/29/16    0902 FIHALLAM     y                                       1             0.00
(10/29/16) (0900) Dose: 6.25 MG

10/29/16    2208 FISKANEK     y                                       1             0. 0 0
(10/29/16) (2100) Dose: 6.25 MG

10/30/16    0826 FIBLEILA     y                                       1             0.00
(10/30/16) (0900) Dose: 6.25 MG

10/30/16    2053 FITAGOED     y                                       1             0.00
(10/30/16) (2100) Dose: 6.25 MG

10/31/16    0 8 5 6 F IMOSLEI< y                                      1             0. 0 0
(10/31/16) (0900) Dose: 6.25 MG

10/31/16     2106 FITAGOED     y                                      1             0. 0 0
( 10/31/16) (2100) Dose: 6.25 MG

ll/Ol/16     1036 FIHALLAM     y                                      1             0.00
( ll/Ol/16) (0900) Dose: 6.25 MG


  Admin Totals                                                        9                   0
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USER: MT                       Medication Administration Summary

Patient                                      Resp:>nsible Doctor LITTMAN,MARIO, MD
Account Hu.her.FAf3b7223o89     Location    FI4PVA              Unit Humber     F001250247
Age/Sex         37/M            Roca        411                 Registered Date 10/07/16
Status          DIS IN          Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)


CLOT10TR2 - Clotrimazole 10 MG TROCHE

  Dose        10 MG (1 TROCHE)
  Adain Route MM
  Start Date 10/27/16-1600        Stop Date None                 DC Date ll/Ol/16-2054
  Ordering Doctor     GILBERT.MARK, MD
  Clinical Indication EARS, NOSE & THROAT
  Total Dispensed     22          Total Costs $12.10              Total Charges $35.20
  Rx Nuaber   001895920

  Discontinue Coiu.ents DC'd by Discharge


  History
   10/27/16 1350 - POM ORDER                      by COGILBEM
   10/27/16 1357 - VERIFIED                       by FIL INC
   10/27/16 1559 - DEBIT                          by JSTASKY
        ITEMS: 1     DOSES: 1
   10/28/16 0050 - DEBIT                          by AGARDOSE
        ITEMS: 1     DOSES: 1
   10/28/16 0828 - DEBIT                          by NC ARTER
        ITEMS: 1     DOSES: 1
   10/28/16 2119 - DEBIT                          by JAEKIM
        ITEMS: 1     DOSES: 1
   10/29/16 0841 - DEBIT                          by MHALL.AMY
        ITEMS: 1     DOSES: 1
   10/29/16 1315 - DEBIT                          by MHALL.AMY
        ITEMS: 1     DOSES: 1
   10/29/16 1615 - DEBIT                          by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/29/16 2055 - DEBIT                          by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 0133 - DEBIT                          by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 0732 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 1132 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 1525 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 2015 - DEBIT                          by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0036 - DEBIT                          by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0846 - DEBIT                          by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 1140 - DEBIT                          by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 1607 - DEBIT                          by KM OSLEY
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USER: MT                             Medication Administration Summary

Patient                                              Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her· FAi3o7223o89             Location   FI4PVA             Unit Hllllber   F001250247
Age/Sex         37/M                     Rooa       411                Registered Date 10/07/16
Status          DIS IN                   Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                        FA1307223089                           (Continued)

        ITEMS: 1      DOSES: 1
   10/31/16 2039 - DEBIT                                  by DTAGOE
        ITEMS: 1      DOSES: 1
   11/01/16 0010 - DEBIT                                  by DTAGOE
        ITEMS: 1      DOSES: 1
   11/01/16 1025 - DEBIT                                  by MHALLAMY
        ITEMS: 1      DOSES: 1
   11/01/16 1309 - DEBIT                                  by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 1710 - DEBIT                                  by MHALLAMY
         ITEMS: 1     DOSES: 1
   11/01/16 2055 - DISCONTINUE                            by DISCHARGE     Eff: 11/01/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge

Adain Date Tiae User         Given Bag Reason Cc:xie                     Iten.s         Charge
10/27/16    1600 FISTASKJ      N       OTHER
(10/27/16) (1600) Dose: 0 MG

10/27/16    2000 FIDESUJ             N          REFUSED
(10/27/16) (2000) Dose: 0 MG

10/28/16    0049 FIGARDOA     y                                              1            0.00
(10/28/16) (ODDO) Dose: 10 MG

10/28/16    0831 FICARTEN     y                                              1            0.00
(10/28/16) (0800) Dose: 10 MG

10/28/16     1200 FICARTEN           N          REFUSED
(10/28/16) ( 12 0 0 ) Dose : 0 MG
10/28/16     1600 FICARTEN           N          REFUSED
(10/28/16) ( 16 0 0 ) Dose : 0 MG
10/28/16    2122 FIKIMJ       y                                              1            0.00
(10/28/16) (2000) Dose: 10 MG

10/29/16    0000 FIKIMJ              N          REFUSED
(10/29/16) (0000) Dose: 0 MG

10/29/16    0901 FIHALLAM     y                                              1            0.00
(10/29/16) (0800) Dose: 10 MG

10/29/16    1327 FIHALLAM     y                                              1            0. 0 0
(10/29/16) (1200) Dose: 10 MG

10/29/16      1616 FIHALLAM          y                                       1            0. 0 0
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USER: MT                            Medication Administration Summary

Patient                                              Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher. FAf30722:3089          Location   FI4PVA             Unit Nu..ber    F001250247
Age/Sex           37/M                   RCXJ•      411                Registered Date 10/07/16
Status            DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                        FA1307223089                          (Continued)

(10/29/16) ( 16 0 0 ) Dose : 10 MG

10/29/16    2208 FISKANEK     y                                             1            0. 0 0
(10/29/16) (2000) Dose: 10 MG

10/30/16    0134 FISKANEK     y                                             1            0. 0 0
(10/30/16) (0000) Dose: 10 MG

10/30/16    0738 FIBLEILA     y                                             1            0. 0 0
(10/30/16) (0800) Dose: 10 MG

10/30/16    1131 FIBLEILA     y                                             1            0. 0 0
(10/30/16) (1200) Dose: 10 MG

10/30/16    1531 FIELEILA     y                                             1            0.00
(10/30/16) (1600) Dose: 10 MG

10/30/16     2052 FITAGOED           y                                      1            0. 0 0
(10/30/16) ( 2 0 0 0 ) Dose : 1 0 MG

10/31/16    0036 FITAGOED     y                                             1            0.00
(10/31/16) (0000) Dose: 10 MG

10/31/16    0857 FIMOSLEI<    y                                             1            0. 0 0
(10/31/16) (0800) Dose: 10 MG

10/31/16    114 0 F IMOSLEK    y                                            1            0.00
(10/31/16) (12 00) Dose: 10 MG

10/31/16     1606 FIMOSLEK         y                                        1            0.00
(10/31/16) ( 16 0 0 ) Dose : 10 MG

10/31/16     2106 FITAGOED     y                                            1            0. 0 0
( 10/31/16) (2000) Dose: 10 MG

11/01/16    0010 FITAGOED     y                                             1            0.00
(ll/Ol/16) (0000) Dose: 10 MG

11/01/16     10 36 FIHALLAM    y                                            1            0.00
( 11/01/16) (0800) Dose: 10 MG

ll/Ol/16    1331 FIHALLAM     y                                             1            0. 0 0
(ll/Ol/16) (1200) Dose: 10 MG

ll/Ol/16     1710 FIHALLAM     y                                            1            0.00
( ll/Ol/16) (1600) Dose: 10 MG


  Ad.11.in Totals                                                          21                  0
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USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account HUJlher FA1307223089      Location     FI4PVA             Unit Hu.her     F001250247
Age/Sex         37/M              Rooa         411                Registered Date 10/07/16
Status          DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)


ALTE2VIA2 - ALTEPLASE 2 MG VIAL

  Dose         2 MG (1 VIAL)
  Ach.in Route IV
  Start Date 10/28/16-1130         Stop Date 10/28/16 1131          DC Date 10/28/16-1131
  Ordering Doctor      JADHAV,GAURAV P MD
  Total Dispensed      0           Total Costs $                     Total Charges $
  Rx Number    001896702

  Discontinue Colllll.ents Reached Stop Date


  History
   10/28/16 1124 - POM ORDER                         by COJADHAG
   10/28/16 1132 - VERIFIED                          by FIRECEVM
   10/28/16 1132 - DISCONTINUE                       by PHABKGJOB     Eff: 10/28/16 1131
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Admin Date Tiae User         Given Bag Reason Code                  Items         Charge
10/28/16    1130 FIKIMJ        N       MU
(10/28/16) (1130) Dose: 0 MG


  Admin Totals
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USER: MT                            Medication Administration Summary

Patient                                             Resp:msible Doctor LITTMAN,MARIO, MD
Account Number FAi'.307223089           Location   FI4PVA             Unit Num.ber    F001250247
Age/Sex        37/M                     Roca       411                Registered Date 10/07/16
Status         DIS IN                   Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                          (Continued)


CLON1TAB25 - clonazePAM 1 MG TABLET

  Dose        1 MG (1 TABLET)
  Adain Route PO
  Frequency   Q12H (PRN) PAR= PRN REASON: A/A - AGITATION/ANXIETY
  Start Date 10/28/16-2100        Stop Date None             DC Date ll/Ol/16-0611
  Ordering Doctor     JADHAV,GAURAV P MD
  Total Dispensed     4           Total Costs $0.20           Total Charges $12.40
  Rx Nuaber   001896954



  History
   10/28/16 1558 - POM COPY AND EDIT           by COJADHAG
      FROM: Rx #001887372
      Result of Frequency/Schedule Edit
      Ordering Doctor: JADHAV,GAURAV P MD
      Last Scheduled Administration Time: 10/28/16 - 0900
      Last Actual Administration Time: 10/28/16 - 0830
      Old Freq/Sch: BID (SCH)
      New Freq/Sch: Q12 (PRN)
      Old Order Stop:    10/28/16 - 1556
      New Order Start: 10/28/16 - 2100
      New Order Stop:
   10/28/16 1605 - EDIT                        by FIANDERC
      EDIT DOCTOR: JADHAV,GAURAV P MD
      FROM:
         SIG: Ql2
      TO:
         SIG: Ql2H
   10/28/16 1605 - VERIFIED                    by FIANDERC
   10/28/16 2119 - DEBIT                       by JAEKIM
         ITEMS: 1      DOSES: 1
   10/30/16 1127 - DEBIT                       by ABLE ILER
         ITEMS: 1      DOSES: 1
   10/31'-'16 0907 - DEBIT                     by KM OSLEY
         ITEMS: 1      DOSES: 1
   10/31/16 2112 - DEBIT                       by DTAGOE
         ITEMS: 1      DOSES: 1
   ll/Ol/16 0612 - DISCONTINUE                 by COHAMIDS               Eff: ll/Ol/16 0611
      EDIT DOCTOR: HAMID,SAMMY, MD
      EDIT SOURCE: Provider Source

A.cha.in Date   Tiae =U=se=r=--~~ Given Bag Rea.son Code               Iten.s        Charge
10/28/16        2121 FIKIMJ         Y                                      1
                      Dose: 1 MG

                1131 FIBLEILA       y                                      1
                      Dose: 1 MG
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USER: MT                               Medication Administration Summary

Patient                                                   Resp:Jnsible Doctor LITTMAN.MARIO, MD
.A.ccoun t Nu.her . FJi.i3 07223 08 9 .       Location   FI4PVA              Unit Nu•ber     F001250247
Age/Sex             37/M                      Rooa       411                 Registered Date 10/07/16
Status              DIS IN                    Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                            FA1307223089                            (Continued)

10/31/16        0906 FIMOSLEK             y                                       1
                      Dose: 1 MG
10/31/16        2114 FITAGOED             y                                       1
                      Dose: 1 MG


  Adain Totals                                                                    4


HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/Ml

  Dose         1 MG (1 ML)
  AdJain Route IV
  Frequency    Q3H (PRN) PAR= PRN REASON: pain 7-10
  Start Date 10/28/16-1745         Stop Date None                            DC Date 10/29/16-1011
  Ordering Doctor      JADHAV,GAURAV P MD
  Total Dispensed      0           Total Costs $                              Total Charges $
  Rx Nu:aber   001896956



  History
   10/28/16 1555 - POM COPY AND EDIT           by COJADHAG
      FROM: Rx #001893023
   10/28/16 1605 - EDIT                        by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/28/16 1605 - EDIT                        by FIANDERC
      EDIT DOCTOR: JADHAV,GAURAV P MD
      FROM:
        MED: HYDR2DIS5 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCl 2 MG/Ml DISP.SYRIN
        CHARGE: $9. 50
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID) 1 MG/Ml
        CHARGE: $9. 25
        DUPLICATE COMMENT: RPH
        RX COMMENTS:
   10/28/16 1606 - VERIFIED                    by FIANDERC
   10/29/16 1012 - DISCONTINUE                 by COSHETHV     Ef f: 10/29/16 1011
      EDIT DOCTOR: SHETH,VISHAD MMD
      EDIT SOURCE: Provider Source
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FAi3bi223b89     Location   FI4PVA             Unit NW11.ber   F001250247
Age/Sex        37/M             RCXJ•      411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO               FA1307223089                           (Continued)


HYDR5DIS2 - HYDROmorphone HCl 0.5 MG/0.5 ML DISP.SYRIN

  Dose        0.5 MG (0.5 ML)
  Ad.in Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: pain 4-6
  Start Date 10/28/16-1745        Stop Date None               DC Date 10/29/16-1011
  Ordering Doctor     JADHAV,GAURAV P MD
  Total Dispensed     0           Total Costs S                 Total Charges S
  Rx Nu:aber  001896957



  History
   10/28/16 1555 - POM COPY AND EDIT           by COJADHAG
      FROM: Rx #001893022
   10/28/16 1606 - EDIT                        by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/28/16 1606 - EDIT                        by FIANDERC
      EDIT DOCTOR: JADHAV,GAURAV P MD
      FROM:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID) 1 MG/ML
        CHARGE: $9. 25
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR5DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCl 0.5 MG/0.5 ML DISP.SYRIN
        CHARGE: $14. 00
        DUPLICATE COMMENT: RPH
        RX COMMENTS:
   10/28/16 1606 - VERIFIED                    by FIANDERC
   10/29/16 1012 - DISCONTINUE                 by COSHETHV     Eff: 10/29/16 1011
      EDIT DOCTOR: SHETH,VISHAD MMD
      EDIT SOURCE: Provider Source
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089      Location   FI4PVA             Unit Number     F001250247
Age/Sex        37/M              Roc:m.     411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)


INSU100V42 - INSULIN REGULAR, HUMAN 300 UNIT/3 ML VIAL

  Dose Instruction      SS LOliJ DOSE
                        LOliJ INTENSITY SCALE:
                        Blood Glucose      Coverage insulin
                        <80mg/dL       Notify House Officer and see below
                        80 - 149        Continue Current regimen
                        150 - 199               2 units
                        200 - 249               3 units
                        250 - 299               4 units
                        300 - 349               5 units
                        350 - 400               6 units
                        Over 400            Call House Officer

                        Notify House Officer for:
                        A)Accu-checks <80mg/dL or >400mg/dL for evaluation and
                        adjument of regimen.
                        B)Change in dietary order (ex:NPO/tube feeding on hold,
                        nausea/vomiting, <l/2 of meal eaten, etc.)
                        C)BG<70mg/dL:
                             a.If pt can take by mouth give 15gm of fast acting
                        carbohydrate(4oz fruit juice/non-diet soda OR 4 glucose
                        tabs OR Boz non-fat milk)
                             b.If pt cannot receive oral carbohydrates, give 50%
                        dextrose - 25ml (l/2 amp) x 1
                             c.Check accu-check every 20min until>70mg/dL.
                        Repeat above treatment (a. orb.) if <70mg/dL
                        D)For ccu-check reading <40 or >450mg/dL, draw and send a
                        STAT serum glucose
  Admin Route SUBQ
  Start Date 10/29/16-0745        Stop Date None                DC Date 10/29/lo-1010
  Ordering Doctor     MANZOOR,HOORIA MD
  Total Dispensed     0           Total Costs $                  Total Charges $
  Rx Number   001897251



  History
   10/29/16 0104 - POM COPY AND EDIT           by COMANZH
      FROM: Rx #001879318
      Result of Frequency/Schedule Edit
      Ordering Doctor: MANZOOR,HOORIA MD
      Last Scheduled Administration Time: 10/28/16 - 2300
      Last Actual Administration Time: 10/28/16 - 2115 (Not Given)
      Old Freq/Sch: Q6 (SCH)
      New Freq/Sch: ACHS (SCH)
      Old Order Stop:  10/29/16 - 0103
      New Order Start: 10/29/16 - 0745
      New Order Stop:
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USER: MT                          Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account Humber FAf:fci7223ti89     Location   FI4PVA             Unit NUlllber   F001250247
Age/Sex        37/M                Rooa       411                Registered Date 10/07/16
Status         DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  Fll.1307223089                           (Continued)

   10/29/16 0124 -    VERIFIED                        by FISACKSM
   10/29/16 1011 -    DISCONTINUE                     by COSHETHV     Eff: 10/29/16 1010
      EDIT DOCTOR:    SHETH,VISHAD MMD
      EDIT SOURCE:    Provider Source

Ad.Jain Date Ti11.e User    Given Bag Reason Code                   I tells         Charge
10/29/16     0745 FIHALLAM     N      GLUCOSE
(10/29/16) (0745) Dose: 0 UNIT


  Adm.in Totals
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USER: MT                         Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account NUJlber.FAi3b7223089      Location    FI4PVA             Unit Num.ber    F001250247
Age/Sex         37/M              ROOll       411                Registered Date 10/0 7/16
Status          DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)


INSUlOOV - INSULIN LISPRO      100 UNITS/ML (1 ML)

  Dose Instruction      SS LOW DOSE
                        LOW INTENSITY SCALE:
                        Blood Glucose     Coverage insulin
                        <80mg/dL      Notify House Officer and see below
                        80 - 149       Continue Current regimen
                        150 - 199              2 units
                        200 - 249              3 units
                        250 - 299              4 units
                        300 - 349              5 units
                        350 - 400              6 units
                        Over 400           Call House Officer

                        Notify House Officer for:
                        A)Accu-checks <BOmg/dL or >400mg/dL for evaluation and
                        adjument of regimen.
                        B)Change in dietary order (ex:NPO/tube feeding on hold,
                        nausea/vomiting, <l/2 of meal eaten, etc.)
                        C)BG<70mg/dL:
                             a.If pt can take by mouth give 15gm of fast acting
                        carbohydrate(4oz fruit juice/non-diet soda OR 4 glucose
                        tabs OR Boz non-fat milk)
                             b.If pt cannot receive oral carbohydrates, give 50%
                        dextrose - 25ml (l/2 amp) x 1
                             c.Check accu-check every 20min until>70mg/dL.
                        Repeat above treatment (a. orb.) if <70mg/dL
                        D)For ccu-check reading <40 or >450mg/dL, draw and send a
                        STAT serum glucose
  Adain Route SUBQ
  Start Date 10/29/16-1100        Stop Date None                    DC Date 11/01/16-2054
  Ordering Doctor     SHETH,VISHAD MMD
  Total Dispensed     0           Total Costs S                      Total Charges $
  Rx Nuaber   001897451

  Discontinue Collll.ents DC'd by Discharge


  History
   10/29/16 1011 - POM ORDER                         by COSHETHV
   10/29/16 1012 - VERIFIED                          by FILINC
   ll/Ol/16 2055 - DISCONTINUE                       by DISCHARGE     Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge

Adiain Date   Tine ~U~s=e=r~~~ Given Bag Reason Code                I tens        Charge
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USER: MT                          Medication Administration Summary

Patient                                            Resp:insible Doctor LITTMAN,MARIO, MD
Account Number FAf3ci7223089.          i~iion     FI4PVA              Unit Nwa.ber    F001250247
Age/Sex        37/M                    ROOll      411                 Registered Date 10/07/16
Status         DIS IN                  Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                           (Continued)
10/29/16     1100 FIHALLAM        N            GLUCOSE
(10/29/lG) ( 110 0 ) Dose : 0 UNITS

10/29/16    1630 FIHALLAM     N                GLUCOSE
(10/29/16) (1630) Dose: 0 UNITS

10/29/16    2100 FISKANEK     N                GLUCOSE
(10/29/16) (2100) Dose: 0 UNITS

10/30/16    0745 FIELEILA     N                GLUCOSE
(10/30/16) (0745) Dose: 0 UNITS

10/30/16     110 0 FIBLEILA        N           GLUCOSE
(10/30/16) ( 11 0 0 ) Dose : 0 UNITS

10/30/16    1630 FIBLEILA     N                GLUCOSE
(10/30/lG) (1630) Dose: 0 UNITS
10/30/16    2100 FITAGOED     N                GLUCOSE
(10/30/16) (2100) Dose: 0 UNITS

10/31/16     0745 FIMOSLEK     N               GLUCOSE
( 10/31/16) (0745) Dose: 0 UNITS

10/31/16     11 0 0 F IM OSLER    N            GLUCOSE
(10/31/16) ( 110 0 ) Dose : 0 UNITS

10/31/16    1630 FIMOSLER     N                GLUCOSE
(10/31/16) (1630) Dose: 0 UNITS

10/31/16    2100 FITAGOED     N                GLUCOSE
(10/31/lG) (2100) Dose: 0 UNITS

11/01/16      0745 FIHALLAM         N          GLUCOSE
( ll/Ol/16) ( 0 74 5 ) Dose : 0 UNITS
ll/Ol/16      110 0 FIHALLAM       N           GLUCOSE
(ll/Ol/16) ( 11 0 0 ) Dose : 0 UNITS
ll/Ol/16     1630 FIHALLAM     N               GLUCOSE
( ll/Ol/16) (1630) Dose: 0 UNITS


  Achin Totals
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Nu.her FAi367223009      :L~ti.on   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              Rooa       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)

TRAM50TA27 - traMADol HCl 50 MG TABLET

  Dose         50 MG (1 TABLET)
  Ach.in Route PO
  Frequency    Q4H (PRN) PAR= PRN REASON: SEVERE - SEVERE PAIN
  Start Date 10/29/16-1730         Stop Date None              DC Date 11/01/16-2054
  Ordering Doctor      JADHAV,GAURAV P MD
  Total Dispensed      9           Total Costs $0.63            Total Charges $27.90
  Rx Nuaber    001897704

  Discontinue Coaments DC'd by Discharge


  History
   10/29/16 1729 - POM ORDER                      by COJADHAG
   10/29/16 1730 - EDIT                           by FILINC
      FROM:
        INTERACTION COMMENT:
      TO:
        INTERACTION COMMENT: RPH
   10/29/16 1730 - VERIFIED                       by FIL INC
   10/29/16 1752 - DEBIT                          by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/29/16 2213 - DEBIT                          by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 0208 - DEBIT                          by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 1525 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 1531 - CREDIT                         by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/31/16 0350 - DEBIT                          by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 1140 - DEBIT                          by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 1556 - DEBIT                          by KM OSLEY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 0221 - DEBIT                          by DTAGOE
         ITEMS: 1     DOSES: 1
   ll/Ol/16 1026 - DEBIT                          by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 1731 - DEBIT                          by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                    by DISCHARGE    Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge
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USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Humber FA1307223089         Location   FI4PVA             Unit NWllber    F001250247
Age/Sex        37/M                 Rooa       411                Registered Date 10/07/16
Status         DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


Act.in Date   Tiae User       Given Bag Rea.son Ccx:le             IteJls         Charge
10/29/16      1800 FIHALLAM     y                                      1
                    Dose: 50 MG

10/29/16      2214 FISI<ANEI<   y                                      1
                    Dose: 50 MG

10/30/16      0209 FISI<ANEI<   y                                      1
                    Dose: 50 MG

10/31/16      0353 FITAGOED     y                                      1
                    Dose: 50 MG
10/31/16      1140 FIMOSLEI<    y                                      1
                    Dose: 50 MG

10/31/16      1600 FIMOSLEI<    y                                      1
                    Dose: 50 MG

ll/Ol/16      0230 FITAGOED     y                                      1
                    Dose: 50 MG

ll/Ol/16      1047 FIHALLAM     y                                      1
                    Dose: 50 MG

ll/Ol/16      1735 FI HALLAM    y                                      1
                    Dose: 50 MG


  Admin Totals                                                         9
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USER: MT                                Medication Administration Summary

Patient                                              Responsible Doctor LITTMAN,MARIO, MD
Account Huaber · FAi3oi223iJ89 ·····     iocation   FI4PVA             Unit Hu.her     F001250247
Age/Sex          37/M                    Roa•       411                Registered Date 10/07/16
Status           DIS IN                  Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                        FA1307223089                           (Continued)


SODilTAB - Sodium Chloride 1 GM TABLET

  Dose        1 GM (1 TABLET)
  Ad.in Route PO
  Start Date 10/29/16-1800        Stop Date 10/29/16 1801                DC Date 10/29/16-1801
  Ordering Doctor     JADHAV,GAURAV P MD
  Total Dispensed     1           Total Costs S0.10                       Total Charges Sl.15
  Rx Nuaber   001897705

  Discontinue ColllD.ents Reached Stop Date


  History
   10/29/16 1732 - POM ORDER                              by COJADHAG
   10/29/16 1732 - EDIT                                   by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/29/16 1732 - VERIFIED                               by FILINC
   10/29/16 1801 - DISCONTINUE                            by PHABKGJOB     Eff: 10/29/16 1801
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/29/16 1806 - DEBIT                                  by FILINC
        ITEMS: 1     DOSES: 1

Adiain Date Tiae User        Given Bag Reason Code                       Item.s        Charge
10/29/16    1821 FIHALLAM      Y                                              1          0.00
(10/29/16) (1800) Dose: 1 GM


  Adain Totals                                                                1                 0
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USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089 · ·   Location   FI4PVA             Unit HW11.ber   F001250247
Age/Sex        37/M               Rooa       411                Registered Date 10/07/16
Status         DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


SODI10DI20 - 0.9 % SODIUM CHLORIDE 10 ML INJECTION

  Dose         3 ML (0.3 INJECTIONS)
  Achtin Route IV
  Start Date 10/07/16-1300         Stop Date None                DC Date
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed                  Total Costs $                  Total Charges $
  Rx Nuaber    U001131728



  History
   10/07/16 0816 - POM ORDER                       by COBORIKM
   10/07/16 0828 - CANCEL                          by FIJASINT
      EDIT DOCTOR: BORIKAR,MADHURA S MD

SODI10DI20 - 0.9 % SODIUM CHLORIDE 10 ML INJECTION

  Dose        3 ML (0.3 INJECTIONS)
  Admin Route IV
  Frequency   PRN (PRN) PAR= PRN REASON: FIV - FLUSHING IV LINE
  Start Date 10/07/16-0815        Stop Date None             DC Date
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed                 Total Costs $               Total Charges $
  Rx Number   U001131729



  History
   10/07/16 0816 - POM ORDER                       by COBORIKM
   10/07/16 0828 - CANCEL                          by FIJASINT
      EDIT DOCTOR: BORIKAR,MADHURA S MD
            Case 2:18-cv-00924-PD      Document 15-7    Filed 05/03/18    Page 25 of 67

DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 225
USER: MT                      Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Humber FAi3ci7223cia9·   Location   FI4PVA             Unit Humber     F001250247
age/Sex        37/M              RCXJa      411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


RISPlTAB - risperiDONE 1 MG TABLET

  Dose         0.5 MG (0.5 TABLETS)
  Acbain Route PO
  Start Date 10/12/16-2100         Stop Date None               DC Date
  Ordering Doctor      ZHANG,HONGYU MD
  Total Dispensed                  Total Costs $                 Total Charges S
  Rx Nuaber    U001135466



  History
   10/12/16 1215 - POM ORDER                      by COZHANGH
   10/12/16 1312 - CANCEL                         by FILINC
      EDIT DOCTOR: ZHANG,HONGYU MD
      FROM:
        CANCEL COMMENTS:
      TO:
        CANCEL COMMENTS:
          NEW ORDER BID
            Case 2:18-cv-00924-PD      Document 15-7   Filed 05/03/18    Page 26 of 67

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 226
USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Number FA1307223089     Location   FI4PVA             Unit Number     F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

ACET600C - Acetylcysteine 600 MG CAPSULE

  Dose         600 MG (1 CAPSULE)
  Adm.in Route PO
  Start Date 10/18/16-1015         Stop Date None              DC Date
  Ordering Doctor      GOOCH,JOHN R MD
  Total Dispensed                  Total Costs $                Total Charges $
  Rx Nuaber    U001139433

  Varnings
  Type:          MAINTENANCE
  Range:         ACETYLCYSTEINE (600 MG)
  Condition:     ALL COMMON INDICATIONS
  Daily Dose        This is an exact dosage calculation of 600 MG/DAY Ordered dose of
                    1,200 MG/DAY exceeds the exact dose by 600 MG/DAY.
  Renal             The Patient's GLOMERULAR FILTRATION RATE is > 60. The result can not
                    be compared against the threshold.




  History
   10/18/16 1014 - POM ORDER                     by COGOOCHJ
   10/18/16 1014 - NOW DOSE                      by COGOOCHJ
      Now Dose: 10/18/16 1015
   10/18/16 1014 - KEEP NEXT DOSE                by COGOOCHJ
      Keep Next Dose: 10/18/16 2100
   10/18/16 1024 - CANCEL                        by FIREALID
      EDIT DOCTOR: GOOCH,JOHN R MD
      FROM:
        CANCEL COMMENTS:
      TO:
        CANCEL COMMENTS:
          need IV; will d'c po
             Case 2:18-cv-00924-PD         Document 15-7   Filed 05/03/18   Page 27 of 67

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 227
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089 ....   f~ti.;;n   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M                RCXJa      411                Registered Date 10/07/16
Status         DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


ENOX40DI - ENOXAPARIN SODIUM 40 MG/0.4 ML DISP.SYRIN

  Dose        40 MG (0.4 ML)
  Adain Route SUBQ
  Start Date 10/25/16-1030       Stop Date None                   DC Date
  Ordering Doctor     THUMMALAPENTA,SIRISHA MD
  Total Dispensed                Total Costs $                     Total Charges $
  Rx Nuaber   U001144231



  History
   10/25/16 1028 - POM ORDER                        by COTHUMMS
   10/25/16 1028 - NOW DOSE                         by COTHUMMS
      Now Dose: 10/25/16 1030
   10/25/16 1028 - KEEP NEXT DOSE                   by COTHUMMS
      Keep Next Dose: 10/26/16 0900
   10/25/16 1030 - CANCEL                           by FIREALID
      EDIT DOCTOR: THUMMALAPENTA,SIRISHA MD
      FROM:
        CANCEL COMMENTS:
      TO:
        CANCEL COMMENTS:
          dup

This is the end of the MAR Summary for Patient FA1307223089 - EFUNNUGA,OLUTOKUNBO.
Case 2:18-cv-00924-PD         Document 15-7                  Filed 05/03/18           Page 28 of 67
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                                   Case 2:18-cv-00924-PD                                 Document 15-7                       Filed 05/03/18             Page 29 of 67
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                                                                       DESCRIPTION OF EVENT                                                 PHYSICIAN ORDERS SHEET
                                                                                                                          nus DRUG REACTION llSTORY MUST BE coMPLETEO ~EflRE DRUG CAN BE. DISPENSED
     ~---------+-------------- Age:                                                                                                37.         .   Gender. ,,/QJe
                                                                                                                _ _s-i
     1-C-CH-EC_K_HE-RE_1F_P_A_:r_1ENT_D_E_N1-Es-H-1ST_OR._v_OF_AL_LE_R_a_1ES-.s-E-Ns-1TMT--1E_s_OR_NJ_VER_s_E_R_EACTION   Care Unit: IC U.l 5 PIMUDA/             Shift:
                   OATE        TIME         FAXED                                                                     ORDERS                                                            TRANSCRIBED
                                                                                                                                                                                            AV
                                       A
                                                                                             RESTRAINTS FOR NON-VIOLENT BEHAVIOR
                                       ~
     .1
             ·•
                                                                                              Restraint Assessment and Physician Order
                                       ~
       2                               A                                                     D Initial Assessment     ~Reassessment

       3
                                       i
                                       A
                                                       (Nurslna to Complete):
                                                    A. Nursing Assessment:
                                       i                 Describe current behavior:
                                                        Iii Pulling a!'Ll~beslCatheters/Dressings
       4
                                       f                ~ Other        ~,!tM:!. n.

       5                               "'           B. AltematlveS Tried                            ·
                                       f                 i Companionship: family, friend volunteer
                                                         = Skin Sleeve
                                                                                                                            ~ Decrease Stimuli/Noise Reduction
                                                                                                                            ~ Modify environment
       6                               ~p                a Increased checks and observation                                  •Close Observation
                                       M                  ~ Bed alarm                                                         Toileting/Hydration (q 2 hours while awake)
       1
                                       f•
                                       A
                                                          ~ Medication
                                                         • Diversion/Activity/Busy Box
                                                         ~ Positioning Pillows
                                                                                                                              Reviewed/Assessed Medk:ations and Lab values
                                                                                                                               Assessed for underly!~ problem
                                                                                                                               Assistance witfl toileting ..
       8
                                       i                 _ Other:------------
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       9                              ·A
                                       ~            RN Signature:                                                                        Date:               Time: ....;;.D..;..S_D<>
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                                      1tA
                                                    PHYSICIAN ORDERS (Physician to Complete):
                                                    A. Clinical Justification:
                                                      liZI To protect against removal of Une~ubes/Calheters!Dressings.
      12                                            B. Time:
                                       !               APPLY .FROM (TIME)               0 5 00           AM/PM TO (TIME)         05 Ob.      AM/PM• 24 HOUR MAXIMU~
      13


      14
                                      iA
                                                    C. Type of restraint:
                                                       l&1 Soft Limb:                                   D 1 Point          ~ 2 Poin!             D 3 Point
                                      1                0 Gerri Chair with Tray
                                                       D Peek-a-boo Mitts
                                       ~
      15
                                                       ~ 3-4 Slderails
                                       M
      18                               A
                                       ~            D. IS Attending physician notified of restrain:µ:! .
                                       M
      17                               A            E. Signatures:                                                 ,/

      18                               '9 Date:~"'-rime:__
                                       M


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                                                        11'1.,. I.
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                                                                                          Physician _/Jjll...L_·- - - - - - - - - - - - - - - - - -

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      19                               A
                                                    Date:~bTime:   OSIO Nurse Signature and title....:~=F:.;.;.......::~:.:::;i=z:::.::;::.:.z.;......
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                                       A            Date:__ Time:__ Unit Secretary Signature
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 Unless written "Do Not Sub&titUte" by the phySlcian, approval IS glVen tnat au pnannaceutlCSIS Oldered by the trade naf!!el may be dispensed with tne genellc onnerapeutlc alternate In
 stock as defined by the Mercv Health SVstem's Pharmacy & Therapeutic committee ot the Medical Staff.                                .
                                   PLEASE NOTElll                          DO NOT WRl"i"E ON REVERSE SIDE OF THIS FORM.
     I Mercy Fitzgerald Hospital
            A mem1B Of Mercy Heallh &,<stem                                                                         EFUNNUGA, OLtJ1'0Kum30
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                                                                                                                    Adm: 10/7 /2016 · ·
      RESTRAINTS (NON-VIOLENT)
                                                                                                                    Ac·c: FA1:3072~3<?B9



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                      Case 2:18-cv-00924-PD                   Document 15-7                   Filed 05/03/18        Page 30 of 67



 A. iursing to Complete):
          Family notified of restraint
          Patient/family educated regarding re~son for restraint
          Restraint prevention &nd use identified on care plan
  B. RESTRAINT PLAN OF CARE· FOR NON-VIOLENT BEHAVIOR .
       OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,                                            .
       Check circulation in limbs • For the presence of pulses and good color - Provide every 2 hours and (Tl ore frequently if needed
       Range.-of-motlon exercises and restraint release of alt limbs one at a time - Provide every 2 hours and more frequently .if rieeded
       Evalu.ate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed
       PROVIDE SAFETY AND COMFORT MEASURES,                                       .                              .
       Assess for signs of injury and skin integrity.
       ASSESS BEHAVIO~ ANO RESPONSE TO RESTRAINTS.
     · Assess readiness for release
 · · · Assess Behavior and enter number key that best describes behavior:
 Behavioral Key:                                                              ·
    =
 1 Agitated               =
                          2 Confused          =                3  Uncooperative         4 =Forgetful        5 =Restless
 6 =Calmer                7 =Sleeping                      · 8 = Following instructions 10=resting
 Type of Restraint Code:
  A. Soft Limb            B. Geri chair with tr~                    ~· Peek-a-boo Mitts          ~ 3-4 Siderails
  Other interventions: _ __,.Su._-'St.=di..;..;.;:UJl=..;;;;.t>_ _ _ _ _ _...,....____,,,_..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                       ap;;y;a:
                                                                     Comments/Observations/Interventions            Assigned Staff.Observer Signature ..




 V Mercy Fitzgerald Hospital
   A member of M8fCV Helllh ~                                                           EFUNNUGA, OLUTOKUNBO
                                                                                        DOB: 03/06/1979           37Y     .M
                                                                                        Adm: 10/7 /2016      ..
 RESTRAINTS (NON-VIOLENT)                                                               Ace: FA1307223089               MR#: F001250247


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                                    Case 2:18-cv-00924-PD                       Document 15-7                 Filed 05/03/18                    Page 31 of 67



                                                                  DESCRIPTION OF EVENT                                        PHYSICIAN·ORDERS SHEET
                       1: ..                                                                               mis riRUG REACr10N t-i1Sl'ori'i Musi'i!E cc>Ml'Lheo eeF-ORE DRUG CAN BE oisPEHsEo
                                                                                                           Age:· · · · ·.: : ;... -: ·' -:: ·.. G~r'ldei:: ··            ~    J   .·    •



     C CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES SENSITMTIES OR ADVERSE REAcTIONS                  Care Unit:                                                                  · Shift:
           DAT!!         TIME     FAIU!!D                                                                                                                                                         TRANSCRIBED
                                                                                                         ORDERS                                                                                       BY
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                                       M                                              RESTRAINTS FOR NON~VIOLENT BEHAVIOR
                                                                                       Reatralnt Aaaenment and Physician Order
.· ; -~Of                                         fNurslna to Cgmpletel:
                                                                                     .Jd1ii'lt1a1 Assessment  0 Reasse~ment                                                                                ·= .·· .




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         4                             A
                                               A. Nursing Assessment:
                                                    Oescrib8 current behavior:                .
                                                    o.i-rming at Unes/Tubes/Catheters/Oressings
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                                                    [:JOther~~~~~~~~~~~~
         5
                                               B. Alte       tives Tried
                                                                                                                 ecrease Stimuli/Noise Reduction
    ...6
                                                                                                                     ify environment
    .• ·,·     I   •                                                                                                 e Observation
                                                                                                                  lleUng/Hydratlon (q 2 hours while awake) .
         7 .                                                                                                      viewed/Assessed Medications and Lab values.·
                                                                                                                    essed for underlying problem· .
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                                               RNS1gnature:..:.·.....:..·_ll4~PJ.'U~':J£.~----                          .Date::    j~~j~: ~l~e: "j;IS-
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                                               PHYSICIAN ORDERS (Physician to Complete):
                                               A. Clinical Justification:
                                                 0 To protect against removal o_f Lines/Tubes/Catheters/Dressings.
                                               B. Time:                          .....,
                                                  APPLY FROM (TIME)            I / . 1,,- AM/PM.TO
                                                                                                 ..
                                                                                                    (TIME) .. /-/1r-:: "AMiPM_: :24 .HOUR. rMXIMU~
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     13
                                               C. Type of restraint:                                                                ... ;~ :·
     14                                             [}SOI£ Limb:                           D 1 Point        E:tTPoint               03 Point·
                                               · D Gerri Chair with Tray
     15                                          Opek-a-boo Mitts
                                                    ~ 3-4 Siderails

                                               D.   6   Attending physician notified of restraint

     17                                        E. Signatures:

                                       A
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     18                                        Date: _ _ Time:__ Physician ---------==-..:::::=t:,:::::::::::....:....:...._:_:..:......:.:._:_....:......:....._

     19                                              '~Yli..            /~
                                               Date: __:<._. Time: _n_%_~t! Nurse SignatUre and title _ _..J.1~4:!..£1.~~~--t.._------
     20                                A       Date: _ _ Time:__ Unit Secretary Signature




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  Unless written 'Do Not Substitute• by the physlc:ian, approval is given that aO pharmaceuticals ordered by the trade names may be dispensed with the 98!llrie oMerapeutic alternate in
  stOCIC as deftned by the Mercy Health Svstern Pharmacy & Therapeutic Commlttn 9f Vie Medjgal Stan.                           ·                            ·
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<·f M~rcy FitZge~ld Hospital
• · :·        Amemberl:i4 MercyHeallh System                                                           EFUNNUGA, OLUTOKUNBO
                                                                                                       DOB: 03/06/19.79 .. 37.Y.            . M ..      ..
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    RESTRAINTS (NON-VIOLENT)
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                                  Case 2:18-cv-00924-PD              Document 15-7           Filed 05/03/18               Page 32 of 67
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       A..<!ll'ieto Com plate)•
         D 11amily
                                         .. /1 I '1
                   notified of restraint --f C.
                                                      s
                                                    1·'.s.f.w
       · G"Patlentlfamily educated regarding reason for restraint
 ·,: .. D Restraint prevention and use identified on care plan
>. e:· OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,.
        RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
                                                                                                      .         .       .                 .  .
             Check circulation· in limbs • For the presence of pulses and good color - Provid~ ev9nt .2 hours· ano more :frequently if need~
                                                                                                                z
             Range-of-motloo exercises and restnilnt release pf all limbs one· at a time~ Provid~ every tiours·ana·-~~re frequently if needed
             Evaluate need for Food, Fluids, Hygiene and Toileting; provide every ·2 hour& and more· frequently if pee"ded. · .-: ... ·
             PROVIDE SAFETY AND COMFORT MEASURES,                                                   -
             Assess for signs of Injury and skin Integrity.
             ASSESS BEHAVIOR AND RESPONSE TQ RESTRAINTS.
             Assess readiness for release
     . _-- _·.Assess Behavior and enter number key that best describes behavior: ·
     · .Behavioral Key:             .
· · 1 ~'Agitated           2 = Confuse<!           3 = Uncooperative          4 =Forgetful                5      = Restless. : .
       6 =Calmer           7 .. Sleeping           8 • Following instructions 10= resting
       Type of Restraint Code:                                                                                         ·. ··-
                                                                                                                                . ;.    '.'   ...
           A. Soft Limb                                                                       A 3-4 Sidera11s     =


           Other interventions: --~~~..c::;..---+411.AooC~........"""":ll11o-_._---r-.t":T-:"""'!'"T..,.~~----------------

                                                                          Comments/Observations/Interventions             Assigned Staff Observer Signat~re




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                                              RA    RL         LL                                                                       ·:.·
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       '     Mercy Fitzgerald Hospital
             A member cl Mercy Ha8th System                                            EFUNNUG.A, .Or..UTOKUNBC)
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       RESTRAINTS (NON-VIOLENT)                                                        Ace: FA1307223089                    MR#: F001250247


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                  ..        Case 2:18-cv-00924-PD                                Document 15-7                 Filed 05/03/18             Page 33 of 67


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                                                                DESCRIPTION OF EVENT                                        PHYSICIAN ORDERS SHEET
                                                                                                          lHIS DRUG REACTION HISTORY MUST BE COMPl.ETED BEFORE DRUG CAN BE DISPENSED
~----------+-----------~----~ Age:                                                                                                          Gender: _ _ _ _ __
a CHECK HERE IF PATIENJ' DENIES HISTORY OF ALLERGIES, SENSITMTIES OR ADVERSE REACTIONS                     care Unit:                                           Shift:
          DAT!:         TIM!!         fAXl:D                                                                                                                             TRANSCRllll;D
                                                                                                        ORDERS                                                                BY
                                 A
                                                                                   RESTRAINTS FOR NON·VIOLENT BEHAVlrJR
                                 ~M                                                  Re,..<.falnt Assessment and Physician Order
 2                               A                                                  liJ'fnitial Assessment      D Reassessment
                                 ~M               (Nurr.lna to Comple!'a):
 3
                                 A             A. Nursing Assessmert.:
                                 !                   Descnbe current bella•Jior:
                                                     O,Pulling at 1Jnes/Tubes1Cathe!ers/Dresslngs
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                                                     [3'0ther     ~l'of ~ ~
                                               B. Alternatives Tried
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                                 t                   D Companlonsh!p: \'Smily, friend volunteer
                                                        Skin Sleeve
                                                                                                           i   Decrease Stimuli/Noise Reduction



                                                     ~B
                                                                                                  •            Modify environment
 6
                                 ~
                                 IN
                                                        Increased checks and obseivatlon
                                                        Bed alarm
                                                                                                               Close Observation
                                                                                                                   eting/Hydration (q 2 hours while awake)
                                                        Medication                                                viewed/Assessed Medlcallons and Lab valu~s
  7


  8
                                 fA
                                                        Diversion/Activity/Busy Box
                                                        Positioning
                                                        Other: _ _  Pillows
                                                                      _ _ _ _ _ _ _ _ __
                                                                                                                   essed for underlying problem
                                                                                                               Assistance with toileting

                                 l                                    ~
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                                 rA
                                               RNSlgnature:                                                             Date: lfJNcv<,       Time:    do()()
                                 ~             PHYSICIAN ORDERS (Physician to Complete):
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 12                              A             B. Time:            lth/~o•&.                  .          It/fl Jt>lfo
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                                 ! ., c. T_!Pv>f
                                  A
                                                 restraint:
                                         (3'Soft Limb:                                     O 1 Point       fa-2 Point           D 3 Point
                                                    D Gerri Chair with Turf
 15                                                 D Peek-a-boo Mitts
                                                    D 3-4 Slderails
 16                                            D.   er  Attending physician notified of restraint

 17                                            E. Signatures:
                                                                                                            I. .. \~
 18                                            Oat/b/$ Time: <ff),(/ Physician _ _ _ __,_~---~~~-·------------~
 19                                            Dat::J7 /       Time: JOt!V
                                                                Nurse Signature and title_~~t-----------------
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 20                                            Date: _ _ Time:_ '.J11it S!r.retary Signature

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Unless wntten "Do Not Substitute• by the physldan, appwval la given Uiat al phamiaceubcals ordered by the trade names may be dispensed with the genenc orlherapeutlcaltemate Ill
stock as defined bV !he Mercv Health svstem's Pharmacy & Tberapeutl'! Commrt!ee 9f !he Med!cal Staff.
                                PLEASE NOTElll                     no NOT WRITE ON REVERSE SIDE OF THIS FORM.
VMercy Fitzgerald Hospital                                                                             EFUNNUGA, OLUTOKUNBO
      All'lef'llbllrof Mercy Health~
                                                                                                       DOB: 03/_06/1979             37Y        M
 RESTRAINTS (NON-VIOLENl)
                                                                                                       Adm: 10/7/2016
                                                                                                       Ace: FAl307223089                 MR.ft: FOOl250247



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                           Case 2:18-cv-00924-PD                   Document 15-7                      Filed 05/03/18         Page 34 of 67



  A. murslng to Complete):
         Family notified of restraint
                                              (_)

    ~ atienVfamily e~ucated regarding reason :Vr :"e&~i!:}"lt
                                                                              • •                                                    •
     ~estralnt prevention and use Identified on care plan
  B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT EEHAVIOR
     OBSERVE AND INTERACT WITH PATIEN:t' AMP ~ROVIDE PHYSICAL CARE,
     Check circulation in limbs - For the presence cf pulses and good color· Provide every 2 hours and more frequently if needed
     Range-of-motion exercises and restraint release of all limbs one at a time· Provide every 2 hours and more frequently If needed
     Evaluate need for Food, Fluids, Hygiene ·and Toileting; provide every 2 hours and more frequently If needed
     PROVIDE SAFETY AND COMFORT MEASURES,
     Assess for signs of Injury and skin Integrity.
     ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
     Assess readiness for release
     Assess Behavior and enter number key that best desclibes behavior:
  Behavioral Key:
  1 = Agitated        2 = Confused               3 = Uncooperative                          4 = Forgetful        5 = Resdess
  6 =Calmer           7 =Sleeping                8 =Following instructions 10=restlng
  Type of Restraint Code:
   A. Soft Limb       B. Geri chair w·
  Other lntervenUons:-----E=1-Pl~"f~"--F;...&..-~....:.:~~~'!:---~+-r-~M-------------­
  Plan of care Im lemented as above:
   Time every 2         Behavior      Type                                                                                 Assigned Staff Observer Signature
      Hours               Key         Code




                                       N: pa.t"ent mee!.: c'"ltarla for removal : ( &J as appropriate)
      D Removal of Unestrubesfdressings a Abi!JtY. lo foHow instructions· not pul~ on Unes/Tubesfcatheters/Drains
• Date               Time :if Restraint Release                                       Nurse's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 , Total Time Restrained:_                Hours _                                                     Minutes
  'G Mercy Fitzgerald Hospital                                                                 EFUNNUGA, OLUTOKUNBO
     Amember CC Mercy Heal!h System
                                                                                               DOB: 03/06/1979         37Y       M
                                                                                              Adm: ~.0/7 /2016
  RESTRAINTS (NON-VIOLENT)                                                                    Ace: FA1307223089              MR#: P001250247
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                                     Case 2:18-cv-00924-PD                              Document 15-7                   Filed 05/03/18              Page 35 of 67


                                   •                                 • •                                                                                         •
-> ._
                                                                                                                                      ()
    PATIEHl' HASHSTORYOF DRUG~,                                        DESCRIPJION OF EVENT                                          PHYSICIAN ORDERS SHEET
                                                                                                                   lHIS DRUG REACTION HISTORY MUST BE COMPLETCO BEFORE DRUG CAN BE DISPEllSED
   1--~~~~--.-.---------1-----------------------------1                                                             Age:             ·                Gender:.~---------
   [] CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES SENSITMTIES OR ADVERSE REACTIONS                            Care Unit:                                           Shift:
                 DATI:          TIME       FAXED                                                                                                                                  TRANSCRIBED
   ..                                                                                                             ORDERS                                                              BY
                                                                                          RESTRAINTS FOR NON-VIOLENT BEHAVIOR
        1.

        2
                                                      (Nursrna to Complete}:
                                                                                                                           r
                                                                                           Restraint Assessment and~slclan Order
                                                                                          0 Initial Assessment                 Reassessment

        3                                          A. Nursing Assessment
                                                           Describe ament behavior.
                                                          121'Pulling at Lines/Tubes/Catheters/Dressings
        4     10\'\ II"                                  '[JOther
                                                    B. Alternatives Tried
        6

        6
                                                           ~ Companionship: family, friend volunteer
                                                           • Skin Sleeve
                                                           ' Increased checks and obseivatlon
                                                                                                                     §  Decrease Stimuli/Noise Reduction
                                                                                                                        Modify environment
                                                                                                                        Close Observation
                                                           .!! Bed alarm                                                T01leling/Hydra!lon (q 2 hours while awake)
        7


        B
                                                           ~Medication
                                                            _ Diversion/Activity/Busy Box
                                                           12 Positioning Pillows
                                                          •._ other:                    -
                                                                                                                     S  Revi!!Wed/Assessed Medications and Lab values
                                                                                                                        Assessed for underlying problem
                                                                                                                        Assistance with toileting


        9
                                                       RN Signature:    £ka«t 1w(/P<a/ AA                    z                     Date: /o/qfllt
                                                                                                                                           j
                                                                                                                                                      Time: 22~00
        10
                                                    PHYSICIAN ORDERS (Physician to Complete):
        11                                         A.~ical Justification:
                                                         74 1o proted against removal of Llnes/Tubes/Catheters/Dres~ngs.
        12                                             B.Tlme:
                                                          APPLY FROM (TIME)          OJ!. ;oo      AMfPM TO (TIME) ;2?,; 0V AM/PM· 24 HOUR MAXIMUM


                                                                                                     1 ?2
        13
                                                   c. Type ofrestralnt:
        14
                                                      12(Soft Limb:                              0       Point             Point            03Point
                                                      Q Gerri Chair with Tray
        15
                                                      0 Peek-a-boo Mitts
                                                   •      JJ'3-4 Sideralls
        16
                                                       D. 0 Attending physician nottfiecl of rest;aint              ((')
        17                                             E. Signatures:                                       ~~L

        18                                             Date:~ Time: 1'9.; 6l Physician ......,,......:{:::;i-
                                                                                                        ~lr:e7t~1/~1-J1~t~9~}'---------------------------
                                                                                               / V /                       ,/}           Beepel# . - - - - - - - - -
        \9                                             Date:l.!2.J!L Time: Z Z:~urse Signature and trtle                i.J,/,44Hi:r/A.{2..rc ~J
        20
                    .                                  Date:_ Time:_ Unit Secretary Signature

        2J

        22


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   Unless wntten "Do Not Substrtute• by the physician, approval Is given that au pharmaceulleals ordered by the trade names may be dispensed with the genenc orthe rapeubc alternate In
   stock as defined by the Mercy Health SVstem's Pharmacy & TI!erapeu!IC Committee of the MedK:al Slaff
                                       PLEASE NOTElll                     DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
    V Mercy Fitzgerald Hospital                                                                                  EFUNNUGA, OLUTOKONBO
             A niembe.' ot Mercy Healtll System
                                                                                                                 DOB: 03/06/1979 37Y     M
                                                                                                                 Adm: 10/7/201G
    RESTRAINTS (NON·VIOLENT)                                                                                     Ace: FA1307223089    MR#: F001250247


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                      •
 A. ~~Ing to Complete):
  · ~Family notified of restraint
                                             • •                                                                          •
     :~f ~Uent/family educated regarding reason for restraint
      t;l'Restraint prevention and use Identified on care plan
 B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
      OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
      Check clrculatlon In limbs • For the presence of pulses and good color· Provide every 2 hours and more frequenUy If needed
      Range-of-motion exercises and restraint release of all limbs one at a time - Provide every 2 hours and more frequently If needed
       Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed
       PROVIDE SAFETY AND COl\1FORT MEASURES,                                             -
     ,Assess for signs of injury and skin Integrity.
  !    ASSESS BEHAVIOR ANO RESPONSE TO RESTRAINTS.
  · Assess readiness for release
       Assess Behavior and enter number key that best descnbes behavior:
 Behavioral Key:                          ·
 1 =Agitated                 =
                          2 Confused            3 = Uncooperative           4 =Forgetful             5 ·= Reslless
 6 =Calmer                7"" Sleeping .        8 "" Following instructions 10= resting
 Type of Restraint Code:
  A:. Soft Limb          B. Geri chair with tray        Q. Peek-a-boo Mitts           .!!:. 3-4 Siderails
  Other interventions:        $~    @fr<      I <!.Cctrfa I!
  Plan of care Im lemented as ab~ve: Nurse's SI nature            ,(()..a fb;?Ldrr,J
    Time every 2                Type                              Comments/Observations/Interventions          Assigned Staff Observer Signature
         Hours                  CC?de


   oo:oo
   DZ.: 00




                                                        LL
. C. Reassessment NURSES ~SSESSES EVERY SHIFT AND DOCUME;NTS BELOW:
     Date/AM Shift: Date: l~lfl,               Time: lft                               ·
     13"Contlnue Restraints as arr ted by patient's condition as assessed and documented
     Nun&!i'Slgnature -1~~~~::::::______________
     Evening/PM Shift: Date: /#' 'b c
    ,12rContlnue Restraints as warranted by
     Nu?itWSlgnature ------~'.LJ~'JC!.~!f::::---------
      Nlght/PM Shift: Date:                      Time:
      D Continue Restraints as warranted by patlenfs condition as assessed and documented
     Nu~'Slgnature
 D. RESTRAINTS DICONTINUATION: patient meets criteria for removal : ( 0 as appropriate)
 Date
     a Removal of Lines/Tubes/dressings [J Ability to follow lnstruclions - not puDing on UnesfTubeslcatheless/Dralns
                          Time of Restraint Reiease                                Nurse's Signature _ _ _ _ _ _ __..;._ _ _ _ _ _ _ __
 Total Time Restrained:                       hours                                   Minutes
 U Mercy Fitzgerald Hospital
    Amember d Merey Heallh System                                             BFUNNUGA, OLUTOKUNBO
                                                                              DOB: 03/06/1979           37Y        M
                                                                              Adm: 10/7/2016
 RESTRAINTS (NON-VIOLENn                                                      Ace: FA1307223089               MR#: F0012S0247


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                          Case 2:18-cv-00924-PD                          Document 15-7                  Filed 05/03/18                 Page 37 of 67


                         ••                               • •
                                                          DESCRIPTION OF EVENT                                       PHYSICIAN ORDERS SHEET
                                                                                                                                                      •
                                                                                                  TiilS DRUG REACTION HISTORY MUST BE COMPLETED BEFORE DRUG CAN'BE DISPENSED
i----~-------+-~·-~-----~~~----t                                                                   Age:              ··                 Gender: _ _ _ __
C CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES. SENSITMTIES OR ADVERSE REACTIONS              Care Unit:                                                Shift:
           DATE       TIME      FAXED                                                                                                                                 TRANSCRIBED
                                                                                                ORDERS                                                                    BY

 1                                                                         RESTRAINTS FOR NON·VIOLENT BEHAVIOR
                                           '    .                           Restraint Assessment and Physician Order
 2                                                                         D Initial Assessment    9-Reassessment
                                           (Nurslna to Complete>:
 3                                      A. Nursing Assessment:
                                                Describe current behavior:
                                               [a-pulling
                                               00ther _   at uneslTubesfCathetersJDressJngs
                                                             _ _ _ _ _ _ _ _ __
 4

 5
                                        B. Al~tlves Tried

 6
                                               [j Companionship: family, friend volunteer
                                                    c:'e::v~ecks    and obs.ervation
                                                                                                     B
                                                                                                     0
                                                                                                        Decrease Stimuli/Noise Reduction
                                                                                                        Modify environment
                                                                                                        Close Observation
                                                                                                                                                    ·



 7
                                                  ed alarm
                                                    dlcation                                         8  Toileting/Hydration (q 2 hours while awake)
                                                                                                        Reviewed/Assessed Medications and Lab values

 8
                                               0 Diversion/Activity/Busy Box
                                               B Positioning PD!ows                                  B  Assessed for underlying problem
                                                                                                        Assistance with toileting


 9


 10
                                        ···~::,                      (if~                                            - /"LI
                                                                                                                 Date:.    //"(A . Tim!!.:       w
                                        PHYSICIAN ORDERS (Physician to Complete):
 11                                     A.~calJusuncation:     •
                                           IZI To protect against removal of Une:s/Tubes/Catheters/Dresslngs.
 12
       ;
                                        B. Time:                         1-J-rv                              1 '"')._J
                                           APPLY FROM (TIME)                         AM/PM TO (TIME)         J'-P l'V AM/PM • 24 HOUR MAXIMUM
 13
                                        C. Type of restraint:
 1"1                                           OSoftUmb:                           O 1 ~olnt      · e(2' Point             Q3Point
                                               0 Gerri Chair with Tray
 15                                            Opek·a·boo Mitts
                                          £1 3-4 Siderails
 16
                                        D. D Attending physician notified of restraint

·17 .                                   E. Signatures:                                      dA
 18                                     Date: _ _ Time:_             Physician--~..--~------------------
 19                                            /ikl,r           1·1w
                                        o~t/,~ Time:~ Nurse Signature anet title
                                                                                I . '\;/A. ~.see~r# .     '¥'{,,Trvf~
 20                                     Date. _ _ Time:__ Unit Sea"etary Signature                     ----------------

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 22


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Unless wntten •0o Not SubStitute• by the physician, approval Is given U1at au pharmaceulicals ordered by the trade names may be dispensed with the genenc oltherapeubc attemate tn
stoc:!c as defined bV the Mercy Health Svstem's Pharmacy & Therapeutle Committee of the Medical staff          •                                   .
                             PLEASE NOTElll                    DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
V Mercy Fitzgerald Hospital                                                                    EFuNNuGA,         OLUTOKUNBO
       A~ of Mercy Heellh System
                                                                                               DOB: 03/06/1979                   37Y       M
                                                                                               Adm: 10/7/2016
 RESTRAINTS (NON-VIOLENT)                                                                      Ace: FA1307223089                       MR#: F001250247
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                       Case 2:18-cv-00924-PD              Document 15-7           Filed 05/03/18       Page 38 of 67



 A.Eug to
                        •
                 Complete):
            ily notified of restraint
                                      /
                                             •1-
                                         &J5 /£ .
           enUfamlly educated regarding reason for restraint
                                                                            •                  ('
                                                                                                                      •
          stralnt prevention and use identified on care plan
  B.      RAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
     OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
  - Check circulation In limbs - For the presence of pulses and good color- Provide every 2 hours and more frequenUy if needed
     Range-of-motion exercises and restraint release of all limbs one at a time - Provide every 2 hours and more frequently if needed
     Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently If needed
     PROVIDE SAFETY AND COMFORT MEASURES,
     Assess for signs of Injury and skin.integrity.
     ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
     Assess readiness for release
     Assess Behavior and enter number key that best describes behavior:
_ Behavioral Key:
 1 =Agitated              2 = Confused        3 = Uncooperative       4 =Forgetful            5 =Restless
 6 .=Calmer               7 = Sleeping     8 = Following instructions 10=resting
·Type of Restraint Code:
  ~Softlfmb                                                                               iderails

  Plan of care Im lamented as above:
                  Behavior Type                                Comments/qbseivationsllnterventions     Assigned Staff Observer Signature
                    .Key    Code




                                                                                                                                            I

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 V Mercy Fitzgerald Hospital                                                EFUNNUGA, OLUTOKUNBO
    Amember QI MEY Heallh System
                                                                            DOB: 03/06/1979 37Y       M
                                                                            Adm: 10/7/2016
 RESTRAINTS (NON-VIOLEN"ij                                                  Ace: FA1307223089    MR.ff: F001250247


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           ·'
                               •
     1--~~~~~~-~~~-1-~~~--~~~~~~~~~~
                                                               • •
                                                               DESCRIPTION OF EVENT
                                                                                                                                    •
                                                                                                                                 PHYSICIAN ORDERS SHEET
                                                                                                                                                                  •
                                                                                                           THIS DRUG REACTION HISTORY MUST SE COMPLElED BEFORE DRUG CAN BE DISPENSED
                                                                                                            Age:                                    Gender._ _ _ __
     [] CHECK HERE 11' PATIENT DENIES HISTORY OF ALLERGIES, SENSITMTIES OR ADVERSE REACTIONS                Care Unit:                                                 Shift:
                                                                                                                                                                                TRANSCRIBED
                                                                                                        ORDERS                                                                      llV
                                                                                  RESTRAINTS FOR NON-VIOLENT BEHAVIOR
                                                                                   Restraint Assessment and Physician Order
      2                                                                           D Initial Assessment     D Reassessment
                                                 (Nurslna to Complete):
      3                                      A. Nmrs1 9 Assessment:
                                                  De be current beHaltlor:
                                                    Pulling_
                                                  OOther   at _
                                                              Lines/Tubes/Catheters/Dressings
                                                                 _ _ _ _ _ _ _ _ _ __

                                              B. Alternatives Tried


                                                                                                              ~
                                                  D Companionship: family, friend volunteer                         e   ase Stimuli/Noise Redudion
                                                                                                                    !lify environment
                                                          ne=~~v~ecks and observation                           Close Observatron         •

      7
                                                           alarm
                                                          dication
                                                  0 Diversion/Activity/Busy Box
                                                                                                              B
                                                                                                              o
                                                                                                                TolleUng/HydrallC?n (q 2 hours while awake)
                                                                                                                Reviewecl/Assessed Medications and Lab values
                                                                                                                Assessed for underlying problem
                                                                                                              0 Assistance with toileting
                                                  B   PoslUonlng Pdlows
                                                      Other: _ _ _ _ _ _ _ _ _ _ __

      9
                                              RN Slgnature:1f        iJ ~                        • 4
                                                                                                                             Date:lo
                                                                                                                                       I
                                                                                                                                           J,i.     Tlme:)..-J'   ro
      10                                                                                        :;
                                              PHYSIOl14.N ORDERS {Physician to Complete):
      11                                     A.,gJnical Justification:
                                                 l.\t1" To protect against removal of UneslTubes/CathetersfDresslngs. -
      12                                      a~:                                                                                          ~            -
                                                 APPLY FROM {TIME};a ~                     AM@"o (TIME)d3                 W AM/~24 HOUR MAXIMUM
      13
                                              C. Type of restraint;
                                                 O Soft Limb:
                                                 O Gerri Chair with Tray
                                                                                         D 1 Point          '° /
                                                                                                                   2 Point              O 3 Point
      15                                         ~~k-a-boo Mitts
                                               ;a ~ Sidera1ls
      16
                                              D.~endlng physician notified of restraint
      17                                      E. Signatures:

      18                                      Datf..~/;J- Tlme?-..fo?> Physician           _+T>-.r;;......--...;;,.;t.'----..............  ---t----'"""'"------
      19                                      Datf~(Jl- Tim~d"D
      20                                      Date: _ _ lime:_

      21

      22


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     Unless wntten "Do Not Sub$blute• by the phy$lelan, approval Is grven that all pha rmaceutic:als ordered by the trade names may be dispensed wrtti the geneno orthcrapeullc altematc In
     stoc!c as defined by !be Mercy Health SVstem's phaqpacy & The!l!peu!lc Corrmttee of the Medical Staff
                                PLEASE NOTEIU                        DO NOT WRITE ON REVERSE SIDE OF THIS FORM.                              -
     t; Mercy Fitzgerald Hospital
           A member d MercyHealth Sys!em                                                               EFUNNUGA, OLUTOKUNBO
                                                                                                       DOB: 03/06/1979 37Y   M
                                                                                                       Adm: 10/7/2016
      RESTRAINTS (NON-VIOLENT)                                                                         Ace: FA1307223089  MR#: F001250247



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                            Case 2:18-cv-00924-PD                 Document 15-7            Filed 05/03/18         Page 40 of 67


                            •
   A. 'N 1frs1ng to Complete):
      &f~.fmily notified of restraint
                                                   • •
     _IEI' Vatient/fa111ily educated regarding reason for restraint
                                                                                                        •                       •
        Restraint prevention and use Identified on care plan
   B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
      OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
      Check circulation In limbs ·For the presence of pulses and good color- Provide every 2 hours and more frequently if needed
      Range-of-motion exercises and restraint release of all limbs one at a time - Provide eveiy 2 hours and more frequentty if needed
      Evaluate need for F~od, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if nee~ed
      PROVIDE SAFETY AND COMFORT MEASURES,
      Assess for signs of injury and skin Integrity.
      ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
    Assess readiness for release
     Assess Behavior and enter number key that best desaibes behavior:
  Behavioral Key:                                                                 _
  1 = Agitated        2 = Confused          3 = Uncooperative           4 =Forgetful           5 = Re~tless
  6 =Calmer           7 =Sleeping            8 = Following Instructions 10=restlng
  Type of Restraint Code:
   ~ Soft Limb        B. Geri chair with tray      Q. Peek-a-boo Mitts           12:. 3-4 Siderails


                                                                                                                 Assigned Staff Observer Signature




                                                      RL LL
   C. Reassessment: NURSES R&              EVERY SHIFT~D DOCUMENTS BELOW:
      Date/AM.Shift: Date:  ti                Time:    ~/J
      0_9.otfiinue Restraintstsaa~~~~lij;patlenrs conditwnas assessed and documented
      NU?f6~'Signature --r.:~~i.q.~==------:----------
      Evening/PM Shift: Date:                           Time:
      0 Continue Restraints as warranted by patient's condition as assessed and documen!ed
      Nu'M~lgnature
      'Nigllt!PM Shift: Oa....,.te-:....,....t-:-.r+.-----=i----....-....::rr--------
       [id'Contlnue Restralms.a9'wa
       NuMnl'Signature
   D. RESTRAINTS DICONTINUATION: patient meets criteria for removal : ( !ti as appropriatej
   Date
       a  Removal of Unes/Tubes/dressings  aAbility to follow Instructions ·not puffing on Unes/Tubes/Calhetess/Drains
                            Time of Restraint Release                              Nurse's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   Total Time Restrained:                         Hours                                     Minutes
   VMercy Fitzgeralii Hospital
      A member of Mercy Health System                                               EFUNNUGA, OLUTOKUNBO \...6-ZJ~
                                                                                    DOB: 03/06/1979   37Y    M
                                                                                    Adm: 10/7/2016
• ~ RESTRAINTS (NON-VIOL.ENT)                                                       Ace: FA1307223089    MR#: F001250247



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                                   Case 2:18-cv-00924-PD                                Document 15-7                Filed 05/03/18              Page 41 of 67



J~T~l'J.S~O~~~~~·
                                   •                                 • •
                                                                      DESCRIPTION OF EVENT
                                                                                                                                     ·- •
                                                                                                                                  PHYSICIAN ORDERS SHEET
                                                                                                                 lHIS DRUG REACDON HISTORY MUST BE COl.RETED BEFORE DRUG CAN BE DISPENSED
                                                                                                                  Age:                             Gender:
    0 CHECK HERE IF PATlelT DENIES HISTORY OF ALlERGll:S. SENSITIVITIES OR ADVERSE REACTIONS                      Care Unit:                                            Shift:
                DATE           TIME          FAXED                                                                                         -                                         TRANSCRIBED
                                                                                                               .ORDERS                                                                   BY
                                       A
     1
                                       r
                                       ~
                                                     PARTI
                                                                                          BEHAVIORAL RESlRAINT ASSESSMENT
                                                                                      FOR VIOLl!NT OR SELF Dl!STRUCTIVE BEHAVIOR
     2
                                       ~p            O lnltlal Assessment             ~eassessment
                                                        (Nursing to Com~lete}:
     3
                                       M

                                       f             A. Nursing Assessment:
                                                        ~ Severe Agitation
                                                                                                 BAssaultive/ Risk or Injury
                                                                                                  Vlolen!/ Aggressive Behavior
                                                                                                                                                          •
                                       M
                                                          CombaUve/Strlldng Out                 ~nsare Behavior due to Impaired Judgment/ cogn!Uon/ Psychosis
     4
                                       ~                 ~elf.Abusive                              erslstEssive verbal threats
                                       I~                   ulcldal                                rttlng/ ckln BiUng
     5
                                       t                   Throwing Objects
                                                         0 Damaging Property
                                                                                                Woehavlo angerous to Self or Others
                                                                                                  Other:
                                                                                                                                                       ,




                                                     i
     e                                  A                0 Self·Mulllatmg
                                       ~M            B. Identify the less-~rfcllve aHernatlves t i n order to modify behaviors:                                                  ·
      7                                 A               °""""latlon          ofmlrG Modoabon       :1 Observallon      !!!I s.t Clear. Finn Umla
                                       ~                  EAT Code
                                                                                   ~low to Venblate
                                                                                     Family Members                   iverslon/Acllvity           Quiet Room / llme-Out
                                                                                                                                               17J: Offer Alternatives I Choices
      e                                 ~                 ctlve Listening
                                                         Other/Desc:lbe:
                                                                                                                       mlmum Stimulation

                                       !
                                       ~
      9
                                                     c. Patient's Response to Above Alternatives:                 i.lnrufh've ·
     10
                                       ~p                                                                                                                -
                                       M
     11
                                       ~
                                       I~A           The above alternatives have been tried and have been unsuccessful; there is a need for more
     12


     13
                                       ;             restrictive restraint interv~
                                                     RN Signature:     ~                                   /))v
                                                                                                                    ~
                                                                                                                               Date:   1ob1)"' Time: '2.bOO
                                       !             PART II PHYSICIAN ORDERS (Physician to Complete}:

                                       f
     1~                                              A.!lcal Justification:                       •
                                                        lmmlnentmllJ!er-or h~ ~~/~Ir or others,.    ombatlve/ Assaultive/ Violent behavior
                                                          ther;       -"'       'NII>~ J\UAAinlC:                                        ,
     15                                 A                                      •          -,          1                          .
                                       ~             B. Tlme:Ages18 & above -4 hour max. Ages9to 17years-2 hour max. /Under9yearsofage -1 hour max.
     18                                l                 APPLY FROM (TIME)            aJ>0o   AM/PM TO (TIME) <J006 AM/PM
                                       ~             c. Type of restraint:
                                       M
     17                                 A            O Locked Seclusion (Psychiatric Units Only)
                                        ~            fSS-4 Side rails
                                       M
     18                                 A            i1,Locked Velcro Restraints        84Polnt          03Polnt             02Polnt
                                       M
                                                     0Softllmb                          04 Point
     19                                              00ther
                                                      D. Continuous observation face-to-face by assigned staff for duration of episode.
     20                                 A
                                                         Note: Face-to-face LIP I Physician visit must be completed within one hour and progress note Written.
                                        ~            E. Signatures:
     21                                 ~                    ~                          Ucensed lndepen~r
                                       A!
                                       ~A
                                                     Date:       !&Time:      g fYI Signature              ~                                   Pager#
     22
                                                     Date:         Time:__ Unit Secretary Signature                                    ~
                                        ~
     .23
                                       M
                                       A             Date:iil llme:         ~ Registered Nurse Signature Ciijf((h....                               ~
.                                      ~M            0   If verbal order, read back and verified bY.                                                                      RN
    Unless wrkten "Do Nol Substitute• by lhe phy$1clan, approval ls given that an pharmaceullcals ordered by the trado names may be dispensed wilh the genellc ortherapeU1lo alternate 111
    stodc as defined !rt I he Mercy Health SVslem's Pharmaev & Therapeutic Corrimlttee of the Medical Slaff.                       _
                                      PLEASE NOTElll                     DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
    V Mercy Fitzgerald Hospital                                                                                EFUNNU'GA, OLUTOKUNBO
           A~ of MelC'f HealthSys!em
                                                                                                               DOB: 03/06/1979   37Y   M
     BEHAVIORAL RESTRAINTS (VIOLENT)
                                                                                                               Adm: 10/7/2016
                                                                                                               Ace: FA1307223089    ~#: F001250247




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                             Case 2:18-cv-00924-PD                      Document 15-7                   Filed 05/03/18           Page 42 of 67



~ART Ill NURSING CARE
\'(Nursing to Complete):
A. Family Notificatlon /Patient and Famil
                                                        • •                                                         OPl Refused
                                                                                                                                               •
   Name of Family Member notified:                                                                                  ~navailable
Patient and family educated regarding reason for restra nts nd given hospital brochure.
Behaviors required to discontinue the restraints were explained to patient and family.
Restraint revention & use were identified on lnterdlsci Ima Plan of Care rream Treatment Plan.                  RN Initials:                             art.
B. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
Assigned observer's signature signifies thatthe following care and I or ~bservatlons were completed every 15 minutes:
Behavior, Cognitive Function, Response to restraints and Readiness for Release
Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient lnjuryj
Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequenUy if needed per q.
15 minute obseivatlons.
Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed perq. 15 minute obseivations. ·
Behavioral Key:
    =
1 Threatening         2 = Combative         3           =
                                                  Violent           4 Assaultive          =  5 LoudNelling       6      =
                                                                                                                       Agitated                =
7 = Uncooperative 8 = Calmer                9 = Quiet               10 = Cooperative         11 = Medl~ted       12 Ate (Describe)             =
13= Drank (Describe)                        14 =Other (See Comments)
Time every 15 min. Behavior Key Circle           CommentslObservaUonsllntervenllons                                            Assigned Staff Obseiver Signature
                                Restrained Limbs




     D Continue Restraints                 D New order obtained           Signature/Title:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Vital Signs: Time _ _ T.                      P.                R.                   BP.            / _ __
D. Restraints Discontinued: The patient has met the following criteria for restraint removal or release.from locked seclusion:
    Cnteria for Removal li1 as appropriate, complete when released
     D Increased behavioral conlrol D No assaultive lhreals D Demonstrates calm behaviorD lmpcovedmental statusD lmprovedCQITlllun!cation D Other _ __
     CJ Decreased agitation         D No tlll'eals of self harm D F.oUows directions    o Interacts with staff DP{lrees to Safety Contract
    Signature/Title:                                     Date Ended:                    Time Ended:                                AM/PM
E. (Psychiatry only) Debriefing occurred with patient, family & staff and recorded on Debriefing Form                            D Yes D No
F. D Clinfcal leadership notified~ episode> 12 hours or 2 or more episode within 12 hours.
Total Time Restrained:                              Hours                                               Minutes
V Mercy Fitzgerald Hospital                                                                     EFUNNUGA, OLUTOKUNBO
    A member of Mercy Health Sy:;tem
                                                                                                DOB: 03/06/1979 37Y     M
                                                                                                Adm: l0/7 /2016
BEHAVIORAL RESTRAINTS (VIOLENl)                                                                 Ace: FAl307223089    MR#: FOOl250247



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                           Case 2:18-cv-00924-PD                       Document 15-7                  Filed 05/03/18         Page 43 of 67



PART Ill NURSING CARE
~\ (Nursing to Complete):
A. Family Notification /Patient and Fa~~
                                                          • •
                                                          ECl·1":
                                                                ~                                                   OPt Refused
                                                                                                                                              •
   Name of Family Member notified:          tJ          IA 01-t                         Date/Time: ID f11f 11,.     r:;;wnavallable
Patient and family educated regarding reason for restMnt!> and given hospital brochure.
Behaviors required to discontinue the restraints were exclalned to patient and famlf.·
Restraint prevention & use were Identified on Interdisciplinary Plan of Care /ream reatment Plan.               RN Initials:                           al
8. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
Assigned observer's signature signifies that the following care and I or observations were completed every 15 minutes:
Behavior, Cognitive Function, Response to restraints and Readiness for Release
Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequently if needed per q.
15 minute obseNalions.
Evaluate need for Food, Fluids, Hygiene and Tolletlng; provide every 2 hours and more frequently if needed per q. 15 minute observations.
Behavioral Key:
1 =Threatening        2 = Combative         3 =Violent               4 = Assaultive           5 = LoudNelfing    6 = Agitated
7 = Uncooperative 8 =Calmer                 9 =Quiet                 10 =Cooperative          11 = Medicated     12 = Ate (Descnbe)
13 = Drank (Describe)                       14 = Other (See Com·ments)
Time every 15min. Behavior Key circle           CommentstObservallo.nsllnterventlons                                       Assigned Staff Observer Signature
                               Restrained Limbs

  !>UJ.<                  7                         w Ci~v' v,,-..~h-l'UJ.. , AAf'.. lls:r
                                         !R;6) CA> fill                                                                     /l,/J&,. ~1    J\ /l).)
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C. Reasses~~n~j Nurse reassess the patient at the end of the time ordered or when released.
    Date:   1.a rf, 1
                                                            Time:    11>~0
       Pln.uiial~ (J,,,.uJ,·~M,, 1'.u "''' JQ...j,.e. ~ "L··nf..s Jn (h-.'f,,,, wl-Mt                                 I1'Mh<" lh ~ 1-PJl!>lt £p,d_ •
        No Vl.Vhe.1 ~A .J..-,,,~ U· - <;iu.ll.lA .1 ,'d ILj.,"ll'IL I nwC~.ILf f 'LA-
    iglcontinue Restraints      lfl.~ ew order obtained s14~urlrr1t1e: f. ••I! .. .. "-· 1' llJ.J
    VitalSigns:Time_h;m_ T. 37f P.              9/ R. ~ BP. !6Y I 8'.0
D. Restraints Discontinued: The patient has met the following criteria for restraint removal or release from locked seclusion:
                                                                                                                    .
   Criteria for Removal li1J as appropriate, complete when released
    O Increased behavioral control a No assaultive threats 0 Demonstrates calm behavior a Improved mental statusO Improved corrmunication 0 Other
    D Deaeased agitabon            o No threats of self harm a Fonows directions        D Interacts with staH   0 Jlgees to Safety Contract
    Signature/Title:                                                Date Ended:                         Time Ended:              AM/PM
E. (Psychiatry only) Debriefing occurred with patient, family & staff and recorded on Debriefing Form                        Dves DNo
F. D Clinical leadership notified           fl   episode> 12 hours or 2 or more episode within 12 hours.
Total Time Restrained:                                    Hours                           D           Minutes

V Mercy Fitzgerald Hospital
    A member of Mercy Heaftll System                                                          EFUNNUGA, OLUTOKTJNBO
                                                                                              DOB: 03/06/1979          37Y        M
                                                                                              Adm: 10/7/2016
BEHAVIORAL RESTRAINTS (VIOLENl)                                                               Ace: FA1307223089              MR#: F001250247



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                             •    ..
 PATIElfTllAS llSTORYOFOllUGAUERGV,
                                                            DESCRIPTION OF EVENT
                                                                                             •                            PHYSICIAN ORDERS SHEET
                                                                                                                                                            •
                                                                                                      IBIS DRUG REACTION t!ISTORYMUST Bl: COt.R.ETED BEfORE DRUG CAN BE DISPENSED
                                                                                                       Age:                             -   Gender:
C CHECK HERE IF PATIB« DENIES HISTOR'I' OF ALLERGIES, SENSITIVITIES OR ADVERSE REACTIONS               Care Unit:                                                   Shift:
      DATE         TIME     F~                                                                                                                                               TRANSCRIBED
                                                                                                    ORDERS                                                                        BY


                                 ~
    1                                                                         BEHAVIORAL RESTRAINT ASSESSMENT
                                           PARTI                          FOR VIOLENT OR SELF DESTRUCTIVE BEHAVIOR
                                 M
. 2                               A        0 lnlUal Assessment        jtJ Reassessment
                                 ~M           (Nursing to Comelete}:
 :s                                        A. Nursing Assessment:             D AssaulUve/ Risk of Injury
                                 !            mevere Agitation
                                                  Combative/Striking Out
                                                                              OViolent/ Aggressive Behavior
                                                                             i"""~ S.havlo< dU8 In ..poked Judgmorl/ Cogollolll                        Psycho••
  5
    4
                                 !~           ~ Self-Abusive
                                                  Suicidal
                                               0 Throwing Objects
                                                                                  erslasslve verbal threats
                                                                                Hlttln
                                                                                  ehavlo
                                                                                          kin Biting      -
                                                                                             gerous to Self or Others
                                  ~            0 Damaging Property,_          OOUter:
                                 Q            0 Self-Mu!Jlallng
                                           a. Identify the leos•..,...lcllvo alternatives t~ In order to modify b•~lo<0:
  8
                                 p
                                  M
                                  A        B De-escala!Jon           ~Calming Medication                  1:1 Observation                   et Clear, Firm Umils                            .
 7
                                 r~
                                  II
                                             PEAT Code
                                           ~Active Listening
                                                                     ~amlly Members
                                                                        llow to Ventilate
                                                                                                          Oiverslon/Actlvity
                                                                                                          Minimum Stimulation          ·
                                                                                                                                         ~ulet Room/ lime.Out
                                                                                                                                            ffer Altemallves I Choices
    8                                        Olher/Oescnbe:                                                    ·

    9
                                 !II
                                 ~         c. Patient's Response to Above Alternatives: Un.te~~ •
                                 M
 10                              A


 11
                                 i
                                 II
                                 ~
                                 ~         The above alternatives have been tried and have been unsuccessfu[; there is a need for more
 12                                        restrictive restraint i n t e r v C
                                 ~         RN Signature:        MJ~ ~/l}=                                             Date:   /~'i} /{,       Time:    OMO
                                 !
 13
                                           PART II PHYSICIAN ORDERS (Physician to Complete):
 14                               A        A.~Jnical Justification:

 15
                                 ~A            Imminent danger of harm to self or others
                                               other:
                                                                                         lif.comballvef Assaultive{ Violent behavior

                                 ~M        B. Time: Ages 18 & above -4 hour max./ Ages9to 17years-2 hour max./ Under9yearaofage -1 hour max.
 16                               A           APPLy FROM (TIME) l\n')          AMIPM TO (TIME)            AMIPMoqoo
                                 ~M        c. Type of restraint:
 17                              A         O Locked SeclUSion (Psychiatric Units Only)
                                           12:13-4 Side rails
                                 E         l!2fl.ocked Velcro Restraints      04Polnt          ~3Polnt             02Polnt

                                 ~
 18
                                           0 Soft limb                        04Polnt
                                           OOther

                                 !
 19
                                            D. Continuous observation face-to-race by assigned staff for duration of episode.
 20                                            Note: Face-lo-race LIP I Physician vlsrt must be completed within one hour and progress note wntten.

 21
                                 !
                                 A
                                           E. Signatures:
                                                                           UceMed      I""'~"""
    .                            1tM       Date: '(J/lf Time:     \2M Slgnatu re ft.                                                    Pager#
 22                              A
                                           Date:          llme: _ _ Unit Secretary Signature
                                 ~
 23                              M
                                 A         Date: 11>hf/ibTime:~ Registered Nurse Signature flLpw~~
                                 r         0   If verbal order, read back and verified bY.                                                                            RN
                 .               ~
                                       .
Unl111111 wrftten Oo Not Substdut11 by thll physician, approval ls glvon that aD phannac:eutl!;als ordered by tho trade names may bo dispensed with tho gonorio orthorapeutlo altomate In
stock as defined by the Mercv Health System's pharmacy & Jberapeut!c Comnu!tee of lhe Med1Cal Slaff
                               PLEASE NOTElll                   DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
V M_ercy Fitzgerald Hospital
        Amember ol MElrcy Health Syslem                                                           EFUNNUGA, OLUTOKUNBO
                                                                                                  DOB: 03/06/1979 37Y    M
 BEHAVIORAL RESTRAINTS (VIOLENT)
                                                                                                  Adm: 10/7/2016
                                                                                                  Ace: FA1307223089   MR#: F001250247



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                           Case 2:18-cv-00924-PD                        Document 15-7                 Filed 05/03/18        Page 45 of 67



PART 111 NURSING CARE
   (Nursing to Complete):
                          •
A. Family Notification /Patient and Family ducatlon:
                                                          • •  /:.
                                                                                                                 • •  OPl Refused
   Name of Family Member notified:            '                                        Date/Time: Jo     J(, (J(i)b ~Unavailable
PaUent and family educated regarding reaso or restr nts and given hospital brochure.
Behaviors required to discontinue the restraints were explained fo patient and family.
Restraint reventlon & use were Identified on lnterdisci lina Plan of Care !Team Treatment Plan.                  RN Initials:   ()fl
B. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
Assigned observer's signature signifies that the following care and I or observations were completed every 15 minutes:
Behavior, Cognitive Function, Response to restraints and Readiness for Release
Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more fr~quently if needed per q.
15 minute observations.
Evaluate need for Food, Fluids, Hygiene and Tolletlngi provide every 2 hours and more frequently if needed per q. 16 minute observations.
Behavioral Key:
1   =Threatening                =
                      2 Combative           3     Violent  =        4     Assaultive     =   5    LoudNelllng      =
                                                                                                                  6 =Agitated
7 =Uncooperative 8 = Calmer                 9 = Quiet               1o= Cooperative          11 Medlcated          =
                                                                                                                   12 =Ate (Describe)
13 = Drank (Describe)                                      =
                                            14 Other (See Comments)
 rune eveiy 15 min Behavior Key Circle                     CommentslObservallonsflntervenUons                             Assigned Slaff Observer Signature
                                        Restrained Limbs




    0 Continue Restraints                  O New order obtained           Signature/Title:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Vrtal Signs: Time _ _ T.                        P.              R.                  BP.           / _ __
D. Restraints Discontinued: The patient has met the following criteria for restraint removal or release from locked seclusion:
    Criteria for Removal li'l as appropriate, complete when released
     Cl Increased behavioral confrol CJ No assaulbve threats CJ Demonstrates calm behavior CJ Improved menial s!ab.JsCl Improved comnunication Cl Olher _ _ _-1
     Cl Deaeased agitation           Cl No threats of self harm Cl Follows cfirections     CJ lnteracls with staff   CJ Agrees to Safely Contract
    Sfgnature/Trtle:                                               Date Ended:                           Time Ended:           AM/PM
E. (Psychiatry only) Debriefing occurred with patient. family & staff and recorded on Debriefing Form                      0 Yes 0 No
F. 0 Clinical leadership notified': episode> 12 hours or 2 or more episode within 12 hours.
Total Time Restrained:             ~         Hours                                    Minutes
WMercy F'lb:gerald Hospital
    A member ol t.lercyHeelth System                                                           EFUNNUGA, OLUTOKUNBO
                                                                                               DOB: 03/06/1979 37Y     M
BEHAVIORAL RESTRAINTS (VIOLENl}
                                                                                               Adm: 10/7 /2016
                                                                                               Ace: FA1307223089   MR#: F001250247



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                          Case 2:18-cv-00924-PD                           Document 15-7              Filed 05/03/18        Page 46 of 67



 PART Ill NURSING CARE
    (Nursing to Complete):
 A. Family Notification /Patient and Family Education:
    Name of Family Member notified:
                                                                                                                         >hrth.
                                                                                                                     0 Pt Refused
                                                                                          Date/Time: Jo '11.. rrM/_1 gunavallable
 Patient and family educated regarding reason for restraints and given hospital brochure.
                                                                                                       -                    .
 Behaviors required to discontinue the restraints were exfilalned to patient and fami¥..
 Restraint orevention & use were identified on lnterdiscip lnarv Plan of Care rream reatment Plan.               RN Initials: Cflt..
 B. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
 Assigned observer's signature signifies that the following care and I or observ~tlons were completed every 15 minutes:
 Behavior, CognlUve Function, Response to restraints and Readiness for Release
 Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
 Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequently 1f needed per q.
 15 minute observations.
 Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently If needed per q. 15 minute obseivations.
 Behavioral Key:
.1 =Threatening        2 = Combative         3 =Violent               4 = AssauHive             5 LoudNelling     =
                                                                                                                  6 =Agitated
   =
7 Uncooperative 8 =Calmer                    9 =Quiet                 1o= Cooperative           11 Medicated      =
                                                                                                                  12 = Ate (Describe)
   =
 13 Drank (Describe)                         14 = other (See Comments}
 Time evert 15 min. Behavior Key Circle           CommentslObservatlonsllnterventions                                    Assigned Slaff Observer Signature
                                 Restrained Limbs
                                                                                                                                       .
 oaq~                  ~.,,.,         rf1 A1'1A) RL{LI.)    ()'vr./ /?JJ M Mr- . AltMWAhn..1                              /JP1. · -·- -""' n, J
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C. Reassess'fie nt~Nurse reassess the patient at the end of the time ord'lj~r when released.
   Date:       O 1 I(,                                                Time:
          {)f; I     CIM /.,ltt ... 1 < .lz> J.,_, w11• J-P /,'G, bu . ,· llA 1111 J~ 1'».P +-~ 1~ ..... n~           /1) .s.fy,• b. Lr .1 d"'    I /'A.t11t'
         /}M>     ..._,.( PllVf1        ti o_c.,,~e ~ tJJJ.h ti)\.. I                                  •
    ~Continue Restraints                 [J.NJw order obtained Sltqure/TitJe: f JU,, .1 A ~·· IV-'
    N,rtal Signs: Time Oq61) T. S            71     P.       q3 R.               BP. /           I (o ~
                                                                                             ii0'1
D. il'estralnts Discontinued: The patient has met the following criteria for restraint removal or release from locked seclusion:
    Criteria for Removal 0 as appropriate, complete when released
      Cl Increased behavioral conlrol Cl No assaultive threats D Demonstrates calm behavior D Improved mental slatusD Improved coomunlcation D Other
      D Oeaeased agitaflon            D No threats of self harm D Folows a.recbons          o Interacts with staff o Agrees to safety Contract
    Signature/Title:                                             Date Ended:                        TimeEnded:               AM/PM
E. (Psychiatry only) Debriefing occurred with patient, family & staff and recorded on Debriefing Form                    OYes 0No
F. 0 Clinical leadership notified for episode> 12 hours or 2 or more episode within 12 hours.
Total Time Restrained:                                     Hours                                     Minutes
ij Mercy Atzgerald Hospital
    A member ot Men;y Heallh System                                                         EFUNNUGA, OLUTOKUNBO
                                                                                            DOB: 03/06/1979 37Y     M
                                                                                            Adm: 10/7/2016
BEHAVIORAL RESTRAINTS (VIOLENl)                                                             Ace: FA1307223089   MR#: F001250247



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                               Case 2:18-cv-00924-PD                           Document 15-7                   Filed 05/03/18             Page 47 of 67


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     PATENr llAS ~"fORY OF DRUGAllBIGV,
                                                                • •
                                                                Dl!SCRIPflON DF EVl!NT
                                                                                                                           • •
                                                                                                                          PHYSICIAN ORDERS SHEET
                                                                                                     lll!S DRUG REACTION HISTORY MUST DE COr.f'l.ErED BEFORE DRUG CAN BE DISPBISED
                                                                                                       Age:                               Gender.
 0 CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES, SENSITl\llTIESOR ADVERSE REACTIONS               Care Unit:                                             Shift
             DATE          TIME          F~D                                                                                                                           TRANSCRli!EO
                                                                                                   ORDERS                                                                   BY
                                   A
     1                             M                                             BEHAVIORAL RESTRAINT ASSESSMENT
                                   ~           PART!                      FOR VIOLENT OR SELF DESTRUCTIVE BEHAVIOR
     2
                                   ~           0 Initial Assessment       j!J.Reassessment
                                   I~A            (f;:!urslng to Cometete):
     :s                                        A. Nursing Assessment:               BAssaultive/ Risk of Injury
                                   ~               0-severe Agitation •
                                                   O CombaUve/Strlking Out
                                                                                       Violent/ Aggressive Behavior
                                                                                    D Unsafe Behavior due to Impaired Judgment/ Cognition/ Psychosis
     4
                                   i
                                   M
                                    A
                                                   D Self-Abusive
                                                   8Sulcldal
                                                                                   D Perslst~~essive verbal threats
                                                                                         dting/ ki f Biting
     :;                                                Th rowing Objects            ffiehavlor angerous to Self or others

     e                             1
                                   ~
                                                   0 Damaging Property
                                                   0 Self-Mulllatlng
                                                                                       Other:

                                               B. Identify the less-restrictive alternatives tried in order to modify behaviors:
     7                             ~           B   De-escalation        Mcalming Medication           ffil'
                                                                                                        1:1 Observation     ~Set Clear, Firm Um1ts
                                   ~               PEAT Code
                                               eJ-Actlve Listening
                                                                        ~mily Members
                                                                            low to Ventilate
                                                                                                    ~!version/Activity
                                                                                                          inlmum StlmulaHon
                                                                                                                             ~ulet Room I Tlme-Out
                                                                                                                                  ffer Altematlves I Choices
     8


     9
                                   !A
                                                  other/Describe:


                                   ~M          c. Patient's Response to Above Alternatives:          u~~¥h~
     10
                                   ~
                                   I~
     11
                                   ~
                                   I~A         The above alternatives have been tried and have been unsuccessful; there is a need for more
     12
                                   ~M
                                               restrictive restraint Interventions.                       }                        J
                                               RN Signature:       ~ flAJ                                              Date: /I) ti 1"1    Time:   b qt1b


                                   '
     13
                                   M           PART II PHYSICIAN ORDERS (Physician to Complete):
     14                            A           A. Clinical Justification:
                                                 ~mlnent danger of harm ~o self or others                     ~omballve/ Assaultive/ Violent behavior
     15
                                   ~A
                                                       lher:
                                   ~           B. Time: Ages 18 &above-4~ourmax./ Ages 9 to 17years-2 hour max./Under9yearsofage • 1 hour max.
     \6                             ~             APPLY FROM (TIME)          0OU AM/PM TO (TIME) OftSJ> AM/PM
                                   ~M          C. Type of restraint:
     i7                            A           O Locked Seclusion (Psychiatric Units Only)
                                   ~           (gJ-4 Side rails
                                   M
     18                            A           ~eked Velcro Restraints           04Polnt          f18:3 Point         02Point
                                   ~M          OsonLlmb                          04Poinl
     19                                        OOther

     20
                                   f
                                   M
                                               D. Continuous observation face-to.face by assigned staff for duration of episode.
                                                  Note: Face-to-face LIP I Physician visit must be completed within one hour and progress note wntten.
                                   A

     21                            l
                                   ~
                                               E. Signatures:

                                               Date:~ Time: .!:LM:'J Signature
                                                                               Licensed Independent Prac;trtloner
                                                                                                 ~                                    Pager#       l' 1:3
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     23                            t
                                   A
                                   M
                                               Date:           ;me:   ..o.ijJw Registered Nurse Signature ~(V.J
                                   ~           D tr verbal order, read back and venfied bY.                                                                     RN
                    .                    .
 Unl0$$ wrilCn Do Not Suballlulo by tho physlclon. approval ls given that aD :*iannaceutlcals ordered by the trade names may be dispensed with the genenc orlherapeut1c aHemala In
 stock as defined bv the Mercy Health System's Pharmacy & Therapeutic Comml\!ee of the Medical Starr.
                                  PLEASE NOTElll                   DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
     V Mercy Fitzgerald Hospital
          A membereil MercyHealUI System                                                          EFUNNUGA,           OLUTOKUNBO
                                                                                                  DOB: 03/06/1979   37Y     M
                                                                                                  Adm: 10/7/2016
     BEHAVIORAL RESTRAINTS (VIOLENT}                                                              Ace: FA1307223089     MR#: F001250247



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                            Case 2:18-cv-00924-PD                          Document 15-7                   Filed 05/03/18            Page 48 of 67



PART Ill NURSING CARE
   (Nursing to Complete):
A. Family Notification /Patient and Famll~catlon:
                                                                                             •                         .
                                                                                                                       OPl Refused
                                                                                                                                                       •
   Name of Family Member notified:                 .f.llM>il.. Ill..                     Date/Time:                           to[t~~to
                                                                                                               o'/_&b J;aunavailable
Patient and family educated regarding reason for restraints and given hospital brochure.
Behaviors required to discontinue the restraints were exfilained to patient and fam~.
Restraint prevention & use were Identified on lnterdisclp lnarv Plan of Care !Team reatment Plan.                  RN Initials:                                   OIL
B. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
Assigned observer's signature signifies that the following care and I or observations were completed every 15 minutes:
Behavior, Cognitive Function, Response to restraints and Readiness for Release
Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequently if needed per q.
15 minute observations.
Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed per q. 15 minute observations.
Behavioral Key:
1 =Threatening        2 = Combative         3 =Violent               4 = Assaultive            5 = LoudNelllng      6 =Agitated
7 = Uncooperative 8 =Calmer                 9 =Quiet                 10 = Cooperative          11 = Medicated       12 = Ate (Describe)
    =
13 Drank (Describe)                         14 ~ other(See Comments)
 Tune ~ry 15 mill. Behavior Key Circle           CommenlslObservallons/lnlervenllons                                            Assigned Slaff Observer Signature
                                Restrained Limbs

  01.frm                  (.,, i          ~ lW.ift°l) LL     fl..w- ii . f.uM .        -r +ll.        MC. ~1GH1~0J..                 f'l /1.._A A • -• ~ f}J..J
  0Q1<                    (,. 7           A~~LL              r.vl"J .. k<.t.S~ ; ft.,L\ n.,..,. .llC lVr""{l&iVPs r...o.. • . ,., tr>-
  ntl~b                    R              rftA @(kj. LL      r,"vc.J ePM                    MC.....·-.               J               a!J. ,,,, ..... ~
   ol'.f'fs                 ~             /W{tj (RI) LL     ('tvr./      -r.,...tt.., Bn1lr r-w..... ur_                            ()(},. ........ .:.. Ll
   l\~C>                    Cl            RA lA RL LL          v--t.m..crK!. r1 (!.'IV.                                             /) h. ~ A • - · "    N
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                         RA LA RL LL
                         RA LA RL LL                                                                                      '

C. Reassessment= Nrse reassess the patient at the end of the time ordered or when released.
   Date:    1¢ 1$' LY                                       Time:      OST>b
                                 :122nUl\N.~         J1ai ..h J, a~~~i~- C.~! ti> 2f: i:n.W 1UlisX
     0 Continue Restraints      O New order obtained Signature/Title:
   Vital Signs: Time _ _ T.                P.         R.            BP.             I
D. Restraints Discontinued: The patient has met the following criteria for restrai:tt removal or release from locked seclusion:
   Criteria for Removal S as appropriate, complete when released
    ~sed behavioral control ~o assaul!IVe threats O Demonsfrales calm behavior O Improved mental statusO Improved COlllllunication O Other
    §I.Dea-eased agifatiob~eats of self harm •ouows cfreclions                                 I
                                                                          J IJ Interacts with staff Dh.lrees lo Safety Contract
   Signature/Title: ~~                               Date Ended: lo Li' l<P           Time Ended: {)'501) AM/PM               -
E. (Psychiatry only) Debriefing occurred with patient, family &staff and recorded on Debriefing Form                                OYes ONo


Total nme Restrained:
                                               .,
F. 0 Clinical leadership notified for episode> 12 hours or 2 or more episode within 12 hours.
                                                           Hours                             91            Minutes
liJ Mercy F~gerald Hospital
    A member ct Metey Haa.'ln Syc!em                                                               EFUNNUGA, OLUTOKUNBO
                                                                                                   DOB: 03/06/1979            37Y          M
BEHAVIORAL RESTRAINTS (VIOLENl)
                                                                                                   Adm: 10/7/2016
                                                                                                   Ace: FA1307223089                MR#: F001250247



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PART Ill NURSING CARE
   (Nursing to Complete):
A. Famlly Notification /Patient and Family Education:
                                                         • •                                                     • •                    OPl Refused
   Name of Family Member notified:                                                                          DatefTime:                  0 Unavailable
                                                                              ff
Patient and family educated regarding reason for restraints and iven hospital brochure.
Behaviors required to discontinue the restraints were exclained o patient and famif.·
Restraint prevention & use were Identified on lnterdisclplinarv Plan of Care /Team reatment Plan.               RN Initials:
B. Continuous Patient Observation and Revised Plan of Care for Restraints I Seclusion:
Assigned observer's signature signifies that the following care and I or observations were completed every 15 minutes:
Behavior, Cognitive Function, Response to restraints and Readiness for Release                                   -
Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequently If needed per q.
15 minute observations.
Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently 1f needed per q. 15 minute observations.
Behavioral Key:
1 =Threatening        2 = Combative         3 =Violent               4 = Assaultive           5 = LoudNelling    6 =Agitated
7 = Uncooperative 8 =Calmer                 9 =Quiet                 10 Cooperative     =     11 = Medicated      12 = Ate (Describe)
13 = Drank (Describe)                       14 = other(See Comments)
 Time every 15 min. Behavior Key Circle           Comments/Observations/Interventions                                    Assigned Staff Observer Signature
                                 Restrained Limbs

                                          RA LA RL LL
                                          RA LA RL LL
                                          RA LA RL LL
                                          RA LA RL LL
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                                          RA LA RL LL
                                          RA LA RL LL
                                          RA LA RL LL
                                          RA LA RL LL
                                          RA LA RL LL
c. Reassessment: Nurse reassess the patient at the end of the time ordered or when released.
     Date:                                                                   Time:



     O Continue Restraints                  0 New order obtained         Signature/Title:
     Vital Signs: Time _ _ T.                       P.              R.                  BP.           I
D. Restraints Discontinued: The patient has metthe following criteria for restraint removal or release from focke'd seclusion:
    Criteria for Removal 1ia' es appropriate, complete when released
     O lnaeased behavioral c;ontrol O No a§aultive ffv'eats 0 Demonstrates calm behavior 0 Improved menial statusD lmpcoved comnunication 0 Other
     0 Dea-eased agitation          0 No threats of self harm O Follows d"ll'ecfJons     O Interacts with staff  OAgrees fo Safely' Contract
     Signature/Title:                                             Date Ended:                             Time Ended:        AM/PM
E. (Psychiatry only) Debriefing occurred with patient, family & staff and recorded on Debriefing Form                     OYes ONo
E D Clinical leadership notified for episode > 12 hours or 2 or more episode within 12 hours.
Totaf Ttme Restrained:                                  Hours                                        Minutes

i Mercy Fitzgerald Hospital
    A member ol Mercy Heallh System                                                           EFUNNUGA, OLUTOKUNBO
                                                                                              DOB: 03/06/1979   37"{    M
                                                                                              Adm: 10/7 /2016
BEHAVIORAL RESTRAINTS (VIOLENT)                                                               Ace: FA1307223089      MR#: F001250247



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                                                                 DESCRIPTION OF EVENT                                    PHYSICIAN ORDERS SHEET
                                                                                                        THIS DRUG REACTION HISTORY MUST BE COMPLETED BEFORE DRUG CAN BE DISPENSED
1-------------1---------------~ Age:                                                                                                          Gender: _ _ _ _ __
C CHECK Hl!RE IF PATIEm' Dl!Nll!S HISTORY OP ALLERGIES. SENSITMTll!S OR ADVl!RSE REACTIONS              Care Unit:                                                    Shift:
           DATE                      FAXED                                                                                                                                     TRANSCRIBED
                        TIM&
                                                                                                       ORDERS                                                                      av
                               A                                                  RESTRAINTS FOR NON.VIOLENT BEHAVIOR
                               M
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 2
      tc/J3        IJ-3crrJ ;                                                      Restraint Assessment and Physician Order
                                                                                  D Initial Assessment     D Reassessment
                               ~
                                                  INurslna to Comoletel:
 3
                               .&A
                                             A.   N=tL:g Assessme;,t:
                               l                  De be       behavior.
                                                              ament
 4
                               r
                               ~
                                                       Pulllng at LineS1Tu::ie-s/Catheters/Oresslngs
                                                  Oother
                                             B. Alternatives Tried
 5
                               !
                               A
                                                          anlonshlp: :ramny, friend volunteer
                                                        Sleeve                                            B Decrease StlmulVNotse Reduction
                                                                                                            Modify environment
 6                                                        sed checks and observation                      D Close Observation

 7
                                A
                                                  B Bedalarm
                                                    Medication •
                                                 D Diversion/Actrvtty/Busy Box
                                                                                                          § Toileting/Hydration (q 2 hours while awake)
                                                                                                            Reviewed/Assessed Medications and Lab values
                                                                                                            Assessed tor undelly~g problem
                                                                                                          D Assistance with toileting
 8
                                A
                                ~                 B PosHioqing Pillows
                                                    Other: _ _""'""_ _ _ _ _ _ _ __

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                                ~
                                11           RNS1gnaturo:1~                                                                                   Tlmc:lt.J'   olJ
 10                             ~
                                             P~HSIAN ORDERS (Physician to Complete):
                               Iii
                                ~
 f1                                          A. Cl lcal Justification:
                                                  ·     o protect against removal of Lines/Tubes/CatheterslOressings.
                               ~
                                                                                                                            •C l
                                A
 12                                          B. Time:                                                 ' :.z Jf'1 I
                               !                APPLY F,ROM (TIME)tl3 1ro                  AM@'O (TIMEe (J v               A~4'4 HOUR MAXIMUM                     •
 13
                               f
                               M
                                             c. Typ    f restraint:
                                                    Soft LI :                            0 1 Point       ~oint                 03 Point
 14                            A


 15
       .
                               t
                               A
                                                  0 Ge Chair with Tray
                                                  D ek-a·boo Mitts
                               ~M                   3-4 Slderalls
 18                            A
                                             D.   ~tending physicisn ::iotified of restraint
 17
                               !
                               A             E. Signatures:

                                             Date~ Time:~
                                ~
 18
                               M


                               i
                                A
                                                                                Physlclan _ _ _        ---:::d...,...=.;,:-------------
 19
                  .
                                A
                                ~
                                             I
                                             Date:'*
                                                      10(1':1.       -
                                                                 Time:~ Nurse Signature and tltlejl ~ Z
                                                                                                          "' f fll'       Bf:!eper#       I
 20                             ~            Date: _ _ Time:__ Unit Secretary Signature                                                  •

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Unless wntten "DO Not SubSbtute" by the physician, approval IS 9JVer. ttuit an phannaceullc:als ordered by the trade names rr.ay be d1$pensed With the genenc ortherapeutic alternate In
stoclc as defined by the Mercy Health SVStem's Phaimaey & Tlleraw.lbc Committee of the Mecfleal Slaff.
                            PLEASE NOTElll                    DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
 V Mercy Fit%gerald Hospital
      A member of Mercy Health System                                                                EFUNNUGA, OLUTOKUNBO
                                                                                                     DOB: 03/06/1979 37Y      M
 RESTRAINTS (NON-VIOLENT)
                                                                                                     Adm: 10/7/2016
                                                                                                     Ace: PA1307223089    MR#: FOOl250247



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                           Case 2:18-cv-00924-PD                 Document 15-7            Filed 05/03/18         Page 51 of 67




A.   ~ng to Complete):
                          •
     ~4nutamily educated regarding reason for restraint
               ily notified of restraint
                                                                                    •                                      •
    S'R:~traint prevention and use identified on care plan
8. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
    OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
    Check circulation In limbs - For the presence of purses and good color- Provide evefY 2 hours an~ more 'frequenUy If needed
    Range-of-motion exercises and restraint release of all limbs one at a time - Provide every 2 hours. and more frequently if needed
    Evaluate need for Food, Fluids, Hygiene and Toileting; provide evefY 2 hours and more frequently if needed
    PROVIDE SAFETY AND COMFORT MEASURES,
    Assess for signs of injuJY and skin Integrity.
    ASSESS BEHAVIOR AND RESPONSE TO RESTf\AINTS.
    Assess readiness for release
- Assess Behavior and enter number key that best describes behavior:
Behavioral Key:
     =
1 Agitated                      =
                       2 Confused            3    =Uncooperative        4 =Forgetful          5 = .Restless
6 =Calmer              7 =Sleeping           8 = Following Instructions 10:::restlng
Type of Restraint Code:
 A. Soft Limb         B. GeriGT,irwith tray                                        ~ 3-4 Si~eralls
 Other interventions: <41)~                                                              I
                                                                                     ;;;>
 Plan of care Im lemented as above: Nurse's Si nal':re
  Time every 2 Behavior Type               Circle Ltmbls      Cqmments/ObseNations/lnterventions       Assigned Staff Observer Signature
     Hours          Key       Code          Restrained




                                           RA   LA RL a·
                                           RA   LA RL ·'-L
                                           RA   LA RL LL
                                                LA RL LL
                                                LA RL LL




                                                        Time: 0 liit)                         .
                                                y paUenrs condition as assessed and documented




V Mercy Fitzgerald Hospital                                                         BFUNNUGA, OLUTOKUNBO
     A IT1ClllW ol Mgrcyl-:tallh ~sn
                                                                                    DOB: 03/06/1979        37Y      M
                                                                                    Adm: 10/7/2016
RESTRAINTS (NON-VIOLENT)                                                            Ace: FA1307223089            MR#: F001250247


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t--~~~~~~~~~~.._~~~~~~~~~~~~~~~
                                                           • ·-
                                                             DESCRIPTION OF EVENT                                      PHYSICIAN ORDERS SHEET
                                                                                                                                                         •
                                                                                                    THIS DRUG REACTION HISTORY MUST BE COMPLETED BEFORE DRUG CAN BE DISPENSED·
                                                                                                    Age:                                 Gender._ _ _ __
Cl CHECK HERE IF PATIENT' DENIES HISTORY OF ALLERGIES. SENSITMTIES OR ADVERSE REACTIONS             Care Unit:                                                 Shift:
               DATE     TIME        FAXED                                                         ORDERS                                                                TRANSCRIBED
                                                                                                                                                                              BY
                                A
                                M                                              RESTRAINTS FOR NON·VIOLENT BEHAVIOR
                                                                                Restraint Asse5sment and PhY.slclan Order
                                                                               D Initial Assessment         ~assessment
                                               (Nurslna to Complete):                                      ~
                                A           A. Nursing Assessment:
                                                     be a1rrent behavior:
                                                        lmg at Unesl"iubes/Cathete1S/Dresslngs
                                                        er~~~~~~~~~~~~

                                A           B. Atty;Rat!ves Tried                                                  _    .  •                         •
                                               &ompanionship: family, friend volunteer            lcrease Stimuli/Noise Reducti0n
                                                    kin Sleeve                                        odlfy enVironment
                                                   Increased Checks and observation                        ose Observation
                                                     ed alarm                                               iletlng/HydraUon (q 2 hours while awake)
 7                                                     edication                                          Reviewed/Assessed Medications and Lab values
                                                         rsion/Activity/Busy Box                      ..g.A,$sessed for underlying problem
                                                     Positioning Pdlows                               CfJ')tiS$1stance with toileting                              •
  B
                                                     Other.--,,,,,,,..----_...~:---~-                                               J J
                                                                                                                         ·~ /'/) /I J
                                                             ~~fbLP'---:!~:..,_-
                                                                              .,.,J!qi'4.!.f {)[fX) _.;;;.__;;,_
 10

                                            PHYSIC    ORDERS (Physician to Complete):
 11                                         A. C cal Justification:
                                                    To protect again&t removal of Unes/l'ubes/Catheters/Dresslngs.
 12
                                            s.Time:                        ~                                   ~V
                                               APPLY FROM {TIME)_                      l\MIPM TO (TIME)                 AM/PM· 24 HOUR MAXIMUM
 13
                                            C, Ttpe of restraint:
 14                                           "'f:}.Soft Umb:                        D 1 Point                              03Point
                                                0 Gerri Chair with Tray
 15                             A              ~ek·a·boo Mitts
                                M
                                             ~ ..,-4 Slderalls
 16                             A
                                            D. 0 Attending physician notified of restraint

 17                             A           E. Signatures:

 18                             A
                                            Da~J~~mo.Q!P_ -~M
 19
                                M
                                               0 } flka:
                                            Date{                  <Jl:2.7Vurse Signature and      l.':'.e.:::ool'~~~-=J~~~:.v--~~""""""---:...
 20                             A           Date:_ Tune:__ Unit Secretary Signature

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                                M
Unless wntten •oo Not Subs!rtute• bv the physician, approval Is given that aU phannaceubcals ordered by the tiade names may be dispensed with the genenc ortllerapeutic alternate in
stock as defined by the Mercir Healtfi System's Phannacy & Therapeutic commrttee of tnB MedlC81 Slaff.                         -        -       --
                            PLEASE NOTElll                    DO NOT WRITE ON REVERSE SIDE OF THIS FORM.                               -
qp Mercy Fitzgerald Hospital
       A member d Meicy Hea!lh System                                                            EFUNNUGA, OLUTOKUNBO·
                                                                                                 DOB: 03/06/1979   37Y    M
                                                                                                 Adm: 10/7/2016
 RESTRAINTS {NON-VIOLENT)                                                                        Ace: FA13072230S9    MRi: F001250247

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                                                                                                           ••
                         Case 2:18-cv-00924-PD                    Document 15-7               Filed 05/03/18          Page 53 of 67


                       •
A. (NyJslng to Complete):
    0 ~mily notified of restraint
                                                 • •
    @'"~tientlfa!llilY educated regarding reason for restral1Jt
                                                                                                                              •
    l.2fRestraint prevention and use Identified on care plan
B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
    OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
    Check circulation In limbs - For the presence of pulses and good color- Provide every 2 hours and more frequenUy if needed
    Range-of-motion exercises and restraint release of all limbs one at a time - Provide every,2 hours and more frequently if needed
    Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed
    PROVIDE SAFETY AND COMFORT MEASURES,                                                                       •
    Assess for signs of Injury and skin Integrity.
    ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
    Assess readiness for release                                  ·
    Assess Behavior and enter number key that best describes behavior:
Behavioral Key:
1 = Agitated             2 = Confused           3 = Uncooperative         4 =Forgetful           5 "" Restless
6 ::: Calmer             7 =Sleeping            8 =Following Instructions 10=resUng
Type of Restraint Code:
 A Soft Umb             IL, Geri chair with tray      ~. Peek-a-boo Mitts         ..Q.. 3-4 Siderails
 Other interventlons: _ _ _ _ _ _ _ _ _ _ _ _~=::onr-:--=~""""7"'w-~.....,..,,,....<--11------......-------------
 Plan of care Im lemented as above:
                                      Type
                                      Code




                                                         LL
                                                         LL
                                                      RL LL
                                             RA LA RL LL
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                                             RA LA RL LL
                                             RA LA RL LL
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                                   RA LA RL LL
C. Reassessment:·NURSES REASSESSES EVERY SHIFT AND DOCUMENTS BELOW:
   Date/AM Shift: Date:                       Time:
   D Continue Restraints as warranted by patient's condition as assessed and documented
   Nu'i'€6!1'Slgnature - - - - - - - - - - - - - - - - - - - - -
   Evening/PM Shift: Dale:                                   Time:
   0 Continue Restraints as warranted by patient's condition as assessed and documented_
   Nu~A'~'Slgnature
    N'    PM Shift: Da~te_:_ll'"'C...-T"":-=.......,..........,...-"'=="'---_,.."""""'""J"'t'..,...._ _ _ __
          ntinue Restra         as w rrant,
       Mrn'Slgnature
D. RESTRAINTS DICO NUATION: patient meets criteria for removal: (la as appropriate)
    CJ Removal of Lines/Tubes/dressings CJ Abilitv to follow JnstrucUons - not puUll!Q on Unes/Tubes/Calheters/Dralns
Date                      Time of Restraint Release                               Nurse's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Total Time Restrained:                            Hours                                           Minutes
VMercy Fitzgerald Hospital                                                           EFUNNUGA, OLUTOKUNBO
   A member ot Mercy Hea.'th System
                                                                                     DOB: 03/06/1979            37Y      M
                                                                                     Adm: 10/7/2016
RESTRAINTS (NON.VIOLENT}                                                             Ace: FA1307223089            MR#: F001250247

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1A~'1. X. OTHERFI                                                 ASM.X.OlMER
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                                Case 2:18-cv-00924-PD                          Document 15-7                Filed 05/03/18              Page 54 of 67




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                              •
l"PATENTHASHSTORYOFDRUGAU.ERGY,
                                    IU:
                                                              • •
                                                               DESCRIPTION OF EVENT                                       PHYSICIAN ORDERS SHEET
                                                                                                                                                        •




                                                                                                       THIS DRUG REACTION HISTORY MUST BE COMPLETED BEl'ORE DRUG CAN BE DISP~SEO
                                                                                                        Age:                              Gender: _ _ _ _ __
C CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES. SENSITMTIES OR ADVERSE REACTIONS                  Care Unit:                                                Shift:
             DATE          TIME         FAXED                                                                                                                             TRANSCRlllllD
                                                                                                      ORDERS                                                                  BY
                                   A
 1                                 M                                              RESTRAINTS FOR NON-VIOLENT BEHAVIOR

                                   ~
                                                                                   Restraint Assessment and Physician Order
 2                                                                                 0 Initial Assessment   mReassessment
                                   ~               (Nurslna to Complete):
                                                A. Nursing Assessmont:
 3

                                   f               Describe current behavior:
                                                   gPulllng at,IJlle~bes/CathetersJOre • .,, _,
 4
                                   t
                                   M
                                                   1!9-0ther ~cq~ OJ.Cea<&tfl1l( ~ o...
                                                B. Alternatives Tried
                                                                             1
 6


                                   f                D Companionship: family, friend volunteer
                                                      kin Sleeve
                                                                                                          IOecrease Stimuli/Noise Reduction
                                                                                                             Modify environment
 6


  7
      -
                                   ~
                                   ~
                                   i
                                                   l   creased checks and observation
                                                      ed alarm
                                                       edlcabon
                                                    0 iverslon/Activity/Busy Box
                                                      ositionlng P1~..        •
                                                                                                             Close Observation
                                                                                                          ITolleting/Hydratlon (q 2 hours while awake)
                                                                                                             Reviewed/Assessed Medications and Lab values
                                                                                                           ~ssessed for underlying problem
                                                                                                           ISAsslstancewith toileting
 8                                 Q                 Other: 1: l ~r1Af}h..                                                                                  •
                                   &
  9

                                   i'           RNSlgnature:     a~@ll                                                 Date:   ~h~hr,      Time:     051'1
 10
                                   '~
                                   M            PHYSICIAN ORDERS (Physician to Complete):
 11
                                   ~p           A._ginlcal Justification:
                                                  ~To protect against removal of.Lines/Tubes/Catheters/Dressings.
 12                                ~            B.Tlme:
                                   t               APPLY FROM (TIME)         0~            AMIPM TO (TIME)     OS@         AMIPM • 24 HOUR MAXIMUM
 13
                                   ~p           c. Type of restraint:
                                   ~               ~Soft Limb:                           D 1 Point        cy/2 Point           03Point
 14

                                   l               n Genl Chair With Tray
 15                                 A              D Peek·a·boo Mitts
                                   t               ~3-4 Siderails


                                   f
 16
                                                D. ¥Attending physician notified of restraint

 17                                A            E. Signatures:

 18
                                   tA           Date:!!/!!- Time:   OfflN Physician              ~~
                                   t                                                            fllu~~ I-'_
                                                Date:~
                                                   Ml.M
                                                        lime: OS?W Nurse Signature and tiUe_"""""=-,=--f-'~<-=....;;..i~"""":o.z:;..--""'''--"-------
 111                               A


 20                                l
                                   ~
                                                Oate:_ lime:_ Unit Secretary Signature

 21                                ~
                                   ~M
 22                                A


 23
                                   ~A

                                   ~M
Unless wntten "Do Not Substatute• by the physician, approval is given tnal au pnarmaceubcalS Ofllete<S by Ule trad& names may 1>e dispensed With Ille genenc ortherapeubc alternate In
stock as defined by the Mercv Health Syctem'c Pharmaev & Therapeutic COmmdtee of the Medical §talf
                           PLEASE NOTElll                     DO NOT WRITE ON REVERSE SIDE OF THIS FORM.

 i Mercy Fitzgerald Hospital                                                                         EFUNNUGA, OLUTOKUNBO
          A member Cll MercyHeallh System
                                                                                                     DOB: 03/06/1979 37Y   M
 RESTRAINTS (NON-VIOLENT)
                                                                                                     Adm: 10/7/2016
                                                                                                     Ace: FA1307223089  MR#: F001250247


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                                                                    Form IPH7t9, Rev. Otl2CI08       1111111111111111111111111111111111111111111111
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                     Case 2:18-cv-00924-PD                    Document 15-7          Filed 05/03/18          Page 55 of 67




A. ~urslng to Complete):
      Family notified of restraint
       atlenUfamily educated regarding reason for restraint
                                                                                                • •
       estralnt prevention and use Identified on care plan
B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
   OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
   Check circulation In limbs - For the presence of pulses and good color- Provide every 2 hours and more frequently if needed
   Range-of-motion exercises and restraint release of all limbs one at a lime - Provide every 2 hours and more frequently if needed
   Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently If needed
   PROVIDE SAFETY AND COMFORT MEASURES,
   Assess for signs of Injury and skin Integrity.
   ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
    Assess readiness for release
    Assess Behavior and enter number key that best describes behavior:
Behavioral Key:
1 :;:: Agitated       2 = Confused      3 = Uncooperative             4 =Forgetful               5 = Restless
6 =    Calmer            =
                      7 Sleeping        8       =
                                               Following instructions 10 =resting
Type of Restraint Code:
A. Soft Limb         .!!. Geri chair ~ tray {!, Q. Peek-a-boo Mitts             J13-4 Siderails
Other interventions:         W       ~c.fi]I)\                           /d
Plan of care Im lemented as above: Nurse's SI nature        QJ4.v.....c::> /IA.
                             Type                        Comments/ObservaUons/lnterventlons               Assigned Staff Observer Signature
                             Code




                                              Hours

                                                                              EFUNNUGA, OLUTOKUNBO
                                                                              DOB: 03/06/1979          37Y       M
                                                                              Adm: 10/7/2016
RESTRAINTS (NON-VIOLENT)
                                                                              Ace: FA1307223089            MR#: F001250247



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                               Case 2:18-cv-00924-PD                           Document 15-7              Filed 05/03/18                 Page 56 of 67


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.:;J.
                                                                                                                         (f)
 PAT£NTHAS llSlORYOF DRUGNLEROY,
 SDISlfMTY-                 IU"                             OESCRIPnOf'I I\:: EVENT                                    PHYSICIAN ORDERS SHEET
                                                                                                    IBIS DRUG REA~KlsTORY MUST BE COl.f'\.ETED BEFO~__m..DlSPENSED
                                                                                                     Age:       •                         c;;ender.        ,                   /fJZ "''f
0 CHECK HERE IF PATIENT DENIES HISTORY OF ALLERGIES, SENSlTMTIESOR AOVERSE REACTIONS                 Care Unit:             t..UA '                              Shift:             - •
                                                                                                                                                                          TIUIN~ldl!EO
           DATE          TIME          F~O
                                                                                                   ORDERS                                                                      DY


                                  ~
 1                                                                             BEHAVIORAL RESTRAINT ASSESSMENT
                                             PARTI                         FOR VIOLENT OR SELF DESTRUCTIVE BEHAVIOR
                                  A          0 Initial Assessment          0 Reassessment
  2


 3
                                  t
                                  A
                                                (Nursing to Comelete}:
                                             A. Nursing Assessment;                   a Assaultive/ Risk of ln)ury
                                  L             0 Severe Agitation                      VlolenU Aggressive Behavior       _
  4                               A             0 Combabve/Stnklng Out                §Unsafe Behavior due to Impaired Judgmenl/ Cognition/ Psychosis
                                                D Self-Abusive
                                  t              B
                                                0Sulcldal
                                                                                      B
                                                                                        Persistent aggressive verbal threats
                                                                                        Hdting/ Kicking/ Biting              •

                                  ~
  5                                               Throwing Ob)ects                      Behavior Dangerous to Self or Others
                                                  Damaging Property                     Other.
  6
                                  A             0 Self-MulilaUng
                                 ~           B. Identify the fess-restrictive alternatrves tried in order to modify behaviors:
  7
                                 I~
                                  M
                                             B   De-escalation         D
                                                                       B  calming Medication        0 1:1 Observation
                                                                                                    B                                 0
                                                                                                                                      B  Set Clear, Firm Umlts

                                 ~           B   PEAT Code
                                                 Active Ustenmg
                                                                          Family Members
                                                                          Allow to Ventilate
                                                                           .
                                                                                                        Diversion/Activity
                                                                                                        Minimum Stimulation
                                                                                                                                         Quiet Room / 11me.Out
                                                                                                                                         Offer Alternatives I Choices
  8
                                  i
                                  M
                                  A
                                                 Other/Descnbe:

  9
                                 ~M          c. Patlent:s Response to J:Dove Alternatives:
 10                               A

                                  !
 11
                                  f~         The above alternatives have been tried and have been unsuccessful; there is a need for more
 12                                          restrictive restraint Interventions.

 13                               A
                                   i         RN Signature:                                                          Date:                   T!me:

                                  L          PART II PHYSICIAN ORDERS (Physician to Complete):
 14                               A
                                  ~
                                  M
                                                 8
                                             A. Clinical Justlflcatio=:;
                                                  Imminent danger or harm to self or others
                                                  Other:
                                                                                            0 Combative/ AssaulUve/Violent behavior
 15                               A
                                  ~M         e. Time: Ages 18 &above -4 hour max./ Ages9 to 17years-2 hour max./ Under9 years or age· 1 hour max.
 18                               A              APPLY FROM (TIME)                       AM/PM TO (TIME)                 AM/PM
                                  ~M         c. Type of restraint:
 17                               A          O Locked Seclusion (Psychiatric Units Only)
                                  r~         O 3-4 Side rans
                                             O Loeked Velero Restraints      04Point              03Point _           [J2Polnt
 18                               M
                                             0 Soft Limb                         04Polnt
 19                               ~          OOther

 20
                                  l
                                  A
                                             o. contl!luous observatlo::t race-to-face by assigned staff for duration or episode.
                                                Note: Face·lo·face !..JP I ?hysician visit must be completed within one hour and progress note written.
                                  ~          E. Signatures:               ~
 21                                ~                           Ucensed lndepe i"~clllioner
                                  ~M         Date: _ _ lime:__ Signature .                                                            Pager# •
 '22                              A
                                  ~
                                             Date:~me:o!fi/JunUSecretarySignature                          •
                                                                                                             1                                 /
 23                               M          Date~J:1me:__::._ Registered Nurse Signature· ~. /~
                                  ~
                                                                                                                                        ~.

                                  M
                                             0   lfverbal order, read l:aek and verified hv                                                                        RN
Unless written "Do Not Subst~ule" by the physician, BPtlroval is g'Ven that d ;>hannaceutr;als ordered by tho trade names may bo dispensed Wllh tho generic; ortherapeutlc allemato In
stock as defined by tbe Merpy Hpllh System's Pharroac:v & Theraoeul'c r.gnmttn o! 1,-.e Medical Staff·
                            PLEASE NOTElll                  DO Noi;'J"RITE' Of.~ ~EVERSE SIDE OF THIS FORM.
 V M_ercy Fitzgerald Hospital
        A member d MereyHeallh System
                                                                                                 EFUNNOGA,OLUTOKUNBO
                                                                                                 DOB: 03/06/1979                 37       M
 BEHAVIORAL RESTRAINTS (VIOLENT)                                                                 ADM: 10/07/16



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                           Case 2:18-cv-00924-PD                   Document 15-7              Filed 05/03/18         Page 57 of 67
          ...

  PART Ill NURSING CARE
                          •
      (Nursing to Complete):
  t.. Family Notification /Patient and Family
                                                  • •                                                   ()
                                                                                                                      OPt Refused
                                                                                                                                   •
      Name of Family Member notified:                                                      Datemme: /o-/             .5-/t,
                                                                                                                      D Unavailable
  Patient and famlly educated regarding reason for restraints and given hospital brochure.
  Behaviors required to discontinue the restraints were explained to patient and family.
  Restraint reventlon & use were Identified on lnterdisci lina Plan of Care /Team Treatment Plan.                 RN Initials:
  B. Continuous Patient Observation and Revised Plan. of Care for Restraints I Seclusion:
  Assigned observer's signature signifies that the following care and I or observations were completed every 15 minutes:
  Behavior, CognlUve Function, Response to restraints and Readiness for Release
  Circulation: for presence of pulses & good color, Skin Assessment & Assessment for Patient Injury;
  Range-of-motion exercises and restraint release of all limbs one at a time - provide every 2 hours and more frequently if needed per q.
  15 minute observations.
  E;valuate need for Food, Fluids, Hygiene and Tolletfng; provide every 2 hours and more frequenUy if needed per q. 15 minute observations.
  Behavioral Key:
· 1 = Threatening        2 = Combative        3 = Violent             4 = Assaultive            5 = LoudNelling    6 =Agitated
     =
  7 Uncooperative B = Calmer                  9    =Quiet             10 = Cooperative          11 "" Medleated    12 = Ate (Describe)
     =
  13 Drank (Descnbe)                               =
                                              14 Other (Se~ Comments)
  Time eveiy 15 min                                   Com menlt.'Obseivatlons/lntervenlions                        Assigned Slaff Observer Signature




                                        D New brder   obtaine~       3ignature/Title:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Vrtal Signs: Time_ T.                         P.              R.              BP.         I                  .
 D. Restraints Discontinued: The pe-tient has met the t~llowing criteria for restraint removal or release from locked seclusion:
     Criteria for Removal la' as appropriate, complete when 'eleased                         -              ·
      0 Increased behavi>ral control D No assaultive threats D Demonstrates calm behavior 0 Improved menial statusO Improved corrmunicalion 0 Other _ _ _.....
      O Deaeased ag1fation .         D No threats of self harm O i::o1ows dll'ec6ons      o Interacts v.;th staff OAgrees to Safety Contract
     Signature/Title:                                           Date Ended:                       Time Ended:             AMJPM
 E. (Psychiatry only) Debriefing occurred with patient, far.1ily & staff and recorded on Debriefing Form               0 Yes D No
 F. 0 Clinical leadership notified for episode> 12 hours~~ ·2 or r.iore episode within 12 hours.
 Total Time Restrained:                       Hours                                   Minutes
 U Mercy FitZgerald Hospita!
     A member al~ Heallh Syslem                                                       EFUNNUGA,OLUTOKUNBO
                                                                                      DOB: 03/06/1979         37     M
 BEHAVIORAL RESTRAINTS (VIOLENl)                                                      ADM: 10/07/16




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----------------------Age:
                            •                                • •
                                                               DESCRIPTION OF EVerr                                     PHYS[CIAN ORDERS SHEET
                                                                                                                                                       •
                                                                                                       1HIS DRUG REACTION HISTORY MUST BE COi.A.Era> BEFORE DRUG CAN BE DISPENSB>
                                                                                                                    ..27·                 Gender.·       l?'/4---'
 C CHec:K HER& IF PATlliNT DENIES HISTORY OF ALLERGI             SENSITIVITIES OR ADVERSE REACTIONS    Care Unit         /GIA.        ·                        Shift:     -fP- 7fr
            DATE          TIME        FAXED

                                                                                BEHAVIORAL RESTRAINT ASSESSMENT
                                              PART I                        FOR VIOLENT OR SELF DESTRUCTIVE BEHAVIOR
  2                                           ~ssessment                     0 Reassessment
                                                 (Nursing to Complelel:
  3                                           A. Nursing Assessl"'lerti:              OA~tlve/ Risk of Injury
                                                 0 Severe Agitatlor.                  G-\lfolenU Aggressive Behavior
  4                                              O Combatlve/Stnk:ng C•u~             0 Unsafe Behavior due to Impaired Judgment/ Cognition/ Psychosis
                                                 O Self~usive                         0 Persistent aggressive verbal threats
                                                 ~tilcidal                            0 Hilting/ Kicking/ Biting            .
  5
                                                 80  lhrowlng Objects
                                                     Damaging Property
                                                     Self-MublaUng
                                                                                      l:J.EGl'iivlor Dangerous to Self or Others
                                                                                      00ther: - - - - - -
  6
                                              B. Ident .the less-restrictive alternatives tried in order to modify behaviors:
                                                                  ~a1!11ffi9'M~tca!lon                               0 Set Clear, Farm Limits
  7                                                e-escalatlon
                                                       :r Code
                                              0.A&ti161Jstenlng
                                                                         B  f'am1ly Members
                                                                            Allow to Ventilate
                                                                                                ·      iva!lon
                                                                                                          Diversion/Activity
                                                                                                          Minimum Stimulation
                                                                                                                                     D.Qulet.Room / 11me-Out
                                                                                                                                     OOrrer Alternatives I Choices
  8                                           CJ Other/Descnbe:
  9
                                              C. Patien~·s Respons~ to !\bove Alternatives: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  10

  11
                                  p
                                  M
                                  A
                                                                                                   nd have been unsuccessful; there Is a need for more
                                  M

  1$
                                              RN Slgnature:~::'.:l!.~~~~~.L.-=._ _ _ __                             Date:    /d-/£/' Time: ;J-1 tS
                                              PART II PHYSICIAN ORDERS (Physician to Complete):
  14                              A           A. Cll..!J.lcal Justification:                                                              '
                                                i;rimminent danger of harm lo self or others [J.e1S'iiibatlve/ Assaulf!ve/ Violent behavior
                                                OOllier. __________________________________________                                         _

                                              B. Time: Ages 18 & above .A hour max~/ Ages 9 to 17 years - 2 hour max. I Under 9 years of age -1 hour max.
  18                                             APPLY FROM (TIME) 01..0/ $"       AMIPM TO (TIME) cR.o,5 AMIPM
                                              C.Typeofrestrainl:           lb-1&·1/;                           /1)-17-1{;.
. ·17 •                                       O Locked Seclusion (Psychiairic Units Only)
                                              0 3·4 Side raUs
  18                                          ~d Velcro ReStralnts                 O'!Plnt            03Polnl             02Polnt
                                              0 Soft Limb                           ~Point
  19                                          Cl Other
                                              D. Continuous obsen•at:cri face-to-race by assigned staff for duration of episode.
  20                                             Nole: Face-to·face !.IP I Fhyslclan visit must be completed within one hour 11nd progress note written.
                                              E. Signatures:                                       ~
  21                                                                           :.!tensed lnde~ioner
                                              Date:_ Time: _ _ Signature_..._ ._
                                                                               ._. ._
                                                                                    __ _ _ _ _ _ _ Pager#--------
  22
                                              Date: _ _ llme: _ _ Unit Secretary Signature           ~

                                              Date1!'1Hl,11me-Pl..l6 Registered N:.irse Signature_~--'-=--'---~--'""----------
                                              0 Ir verbal order, read bacl~ e:idve'1fied by_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _RN
 Unless written •0o Not Substnle" by Iha physician, appr~al Is glv'3n lha~·aD ;iharmaceubcals ordered by the llade namot.may be dispensed with the generic artherapeuhc alternate In
 staclc as defined !rt the Merg Health SVstem"s Pharmacy & Theiapsllllc Committee of the MedlcaJ Staff.
                              PLEASE NOTElll                 DO NO-:: WRITE ON REVERSE SIDE OF THIS FORM.
 V Mercy  Fitzgerald Hospital
   l\membwofMercyHealthSystem
                                                                                                                · ~
                                                                                                   EFUNNUGA, OLUTOKUNBO
                                                                                                   DOB: 03/06/1979             37         M
                                                                                                   ADt-i: 10/07/16
  BEHAVIORAL RESTRAINTS (VIOLENT)


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                             Case 2:18-cv-00924-PD              Document 15-7                Filed 05/03/18               Page 59 of 67



 PART Ill NURSING CARE
     (Nursing to Complete):
                                                • •
  A. Family Notification /Patient and Family Education:
                                                                                                           ()

                                                                                                                      OPt Refused
                                                                                                                                          •
     Name of Family Member notified:                                                       Datemme:                (0-16- / h
                                                                                                                      0 Unavailable
_ Patient and family educated regarding reason for.restraints and given hospital brochure.
  Behaviors required to discontinue the restraints W'lre explained to patient and family.
  Restraint reventior: & use were Identified on lnterdisc· Jina Plan of care ffeam Treatment Plan.                RN Initials:
  B. Continuous Patient Observation and Revise~ Plan of Care for Restraints I Seclusion:
  Assigned observer's.signature signifies that the following care and I or ob~erva,tions were completed every 15.mlnutes:
  Behavior, Cognitive Function, Response to restrain~ and Readiness for Release
  Circulation: for presence of pulses & good color, Skin ,.\ssessment & Assessment for Patient Injury;
  Range-of-~otlon exercises and restraint release of sll limbs one at a time - provide every 2 hours and more frequently if needed per q.
  15 minute observations.
  Evaluate need for Food, Fluids, Hygiene and Toileting; provide every 2 hours and more frequently if needed perq. 15 minute observations.
  Behavioral Key:
     =
· 1 Threatening         2 = Combative         3   = Violent            4         =
                                                                             Assaultive                        =
                                                                                                5 LoudNellmg ~ =Agitated
  7  = Uncooperative 8 = Calmer               9   =Quiet                         =
                                                                       10 Cooperative           11 = Medicated     12 = Ate (Describe)
     =
  13 Drank (Describe)                             =
                                              14 other(See C?mments)·




                                       0 New order ob!aineC: Slgnaturet'Title:_ _L.].J:&UJ~t=:.~~L-----------
    Vrtal Signs: Time_ T.                          P.            'R.             BP.           / _ __
 D. Restraints Discontinued: T~e patient has m~1 ~he "vllowlng criteria for restraint removal or release from locked seclusion:
    Criteria for Removal 0 as appropriate, complete whe:-, :eleased
     IJ Increased behavioral conlrol o No assaultive threats D Demonstrates calm behavior D Improved mental statuslJ Improved conmunication o Olher _ _--1
     o oeaeased agitation            D No threats of self harm o Folows crrecttons        o Interacts \111111 staff D Agrees to safety Gonlract
      Signature/Title:                                     Date Ended:                           Time Ended:                AM/PM
 E. (Psychiatry only) Debriefing occurred with patient, family & staff and recorded on Debriefing Form                    0Yes ONo
  F. 0 Clinical readership notified for episode> 12 hours or 2 or more episode within 12 hours.
· Total Time Restrained:                       Hours                                 Minutes
 V Mercy Fitzgerald Hospital
     A member d Marcy Health System
                                                                                     EFUNNUGA,OLUTOKUNBO
                                                                                     DOB: 03/06/1979 37   M
 BEHAVIORAL RESTRAINTS (VIOLENl}                                                     ADM: 10/07/16
                                                                                     ACC:FA1307223089 MR:F001250241


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                              Case 2:18-cv-00924-PD                             Document 15-7                      Filed 05/03/18               Page 60 of 67


                              •
 PATEff HAS HSTORYOFORUGAUERGY,


1----~~---~-~-1----~-~-~-~----~
                                                              • •DESCRIPTION OF EVENT                                          PHYSICIAN ORDERS SHEET
                                                                                                                                                                 •
                                                                                                           lHIS DRUG REACTION HISTORY MUST BE COMPLETED BEFORE DRUG CAN BE DISPENSED
                                                                                                           Age:                                   Gender: _ _ _ _ __
IJ Ctn:CK HERE IF PATIENT DENIES HISTORY OF ALLERGIES, SENSITM1'1ES OR ADVERSE REACTIONS                  Care Unit:                                                     Shift:
          DATE            TIME          FAXED                                                                                                                                     TRANSCRIBED
                                                                                                        ORDERS                                                                        8Y
                                   A
                                                                                  RESTRAINTS FOR NON-VIOLENT BEHAVIOR
  !                                ~M                                              Restraint Assessment and Physician Order
  2                               ·~                                               D Initial Assessment               13'1feassessm~nl
                                   1C              (Nursina to Complete):
                                                A. Nursing Assessment:                                                                                                    _.
  3

  4
                                   f
                                   A
                                                           e current behavior:
                                                          Ing at LlnesfTubes/Catheters/Dressings
                                                          er
                                   ~'
                                   ~            B. Alternatives Tried
  5
                                   ~
                                   ~
                                                           mpanlonshlp: family, friend volunteer
                                                             Sleeve
                                                                                                                8 Decrease StlmulUNolse Redudion
                                                                                                                  Modify environment
  6                   -
                                   ~                       eased checks and observation                         D Close Observation              ·            -
                                   ~
                                                    D Beiklann                                                  D Toileting/Hydration (q 2 hours while awake)
  7                                                 l:J1«8dicatlon                                              D Revle\Ved/Asse=>Sed Med1cat10ns and Lab values
                                   ~M                                                                           D Assessed for µn,der!ylng problem
  8                                A                §   Diversion/Activity/Busy Box
                                                        Positioning
                                                        Other: __   PUlows
                                                                     _ _ _ _ _ _ _ _ __                         D Assistance.With toileting

  9
                          '                     RN Slgnature: __      ~l£~·~=U'.Az.,·'"'-t1fi.-..:./~'1-......;.M~-"'-l.4(..,,__..__ Date: 111,,hi,
                                                                                        ~II                 I
                                                                                                                                            '/' '"' Time: __..;;; -:i rd...___
                                                                                                                                                              ..........
 .10                                A
                                   ~            PHYSICIAN ORDERS (Physician to Complete):
                                                                                          "
                                   I~
 11                                             A •..Q.11D1cal Justification:
                                   ~               C!rTo protect against removal of UnesfTubeslCatheters/Dressings.
 12                                 ~
                                    M           B. Time:
                              .    ~A              APPLY FRqM (TIME)          a";),-,         AM/PM TO (TIME)          a:JN AM/PM~ 24 HOUR MAXIMUM
 t3
                                                c. Type of restraint:
 14                                                ia-s@tUmb:                            01 Point               13-2"' Point         Q3Polnt
                                                   0 Gerri Chair with Tray
 ~15 ~                                             ~ek-a·boo Mitts
                                                   Ef3-4 Sideralls
 16
                                                D. D Att~ndlng physician notified of restra~int.
 17                                             E. Signatures:                                   •

 18
                                                Date:_ Time:-:-- Physlclan ___,...- - - - - - - - - - - - - - - - - - - -
                                                                                           7
 19
                                                Date:'~~ll/A.                                  ~4~: _______
                                                       wJ Time:~ Nurse Signature and tltle _ _""'~~F""-~~:...-;;...;..--...,p.""'"'"...._
 20.              -                             Date:_ Time:_ Unit Secretary Signature

 21
                 .
 22


 23                                A
                                   M
                                   M
Unless wntten "Do Not Subshtute• by Ille physlcran, approval 1s grven that al pharmacsullcals ordered by Ille trade names may be dispensed with the genene ortherapeubc alternate 111
stock as defined by !he Mercv Health System'a Pharmacy & Tl\eraoeutic Committee of the Medical Staff.
                                  PLEASE NOTElll                    DO NOT WRITE ON REVERSE SIDE OF THIS FORM.
 V"Mercy Fitzgerald Hospital
       AmemberciCM«c'fHeellllS,.S:em                                                                  EFUNNUGA, OLUTO~O
                                                                                                                                                3(/ ~
                                                                                                      DOB: 03/06/1979 37Y                         .
                                                                                                      Adm: 10/7/2016·                 .
 RESTRAINT~ (NON-VIOLENT)                                                                             Ace; FA1307223089                        MR#:      F0012S0247


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                                                                     Fonn #PH711, Rov. 0112008        1111111111111111111111111111111111111111111111
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                          Case 2:18-cv-00924-PD            Document 15-7           Filed 05/03/18       Page 61 of 67




A.
 ·
     ·!§In to  Complete):
       a dy notified of restraint
                                            • ••
     P tienUfamlly educated regarding reason for restraint
                                                                                             •
       estraint prevention and use Identified on care plan
B. R STRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
   OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,                               .                   •       _
   Check circ;ulatlon In limbs • For the presence of pulses and good color· Provide every 2 hours and more frequently if needed
   Range-of-motion exercises and restraint refoaso of all limbs one at a time - Provide every 2 hours and more frequently If needed
   Evaluate need for Food, Fluids, Hygiene and Tolletlngj provide every 2 hours and more frequently if needed
   PROVIDE SAFETY AND COMFORT MEASURES,
   Assess for signs of injury and skin Integrity.
 ' ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
   Assess readiness for release
   Assess Behavior and enter number key that best describes behavior:
Behavioral Key:                                                      .
     =
1 Agitated             2 = qonfused     3   = Uncooperative        4 =Forgetful                 =
                                                                                        5 Re&tless
6 = Calmer             7 = Sleeping     8 = Following instructions 10= resting
Type of Restraint Code:

                          0
  A. Soft Limb           ::~                    £.Peek-a-boo Mitts           ~ 3-4 Siderails

  Other interventions:'1'(l- ~                                  ";ft
: Plan of care Im lemented as above: Nurse's Si nature      '1T;;;;;;+AO;?
   Tlm·e every 2 Behavior Type                           Comments/Observations/Interventions  Assigned Staff Obserier Signature
      Hours             Key          Code




                                                                                                                                      ).



V Mercy Fitzgerald Hospital                                                 EFUNNUGA,    OLUTOKUNBO.~J f~
                                                                                                                                      ~I
     A member of Mercy Heafth ~.em
                                                                            DOB: 03/06/1979 37y"-""M"' ~
                                                                            Adm: 10/7/2016
RE;STRAINTS (NON-VIOLENT)                                                   Ace: FA1307223089  MR#: F0012502~7 -
                                                                                                                                      -
                                                              P•11e2or2
                                                Fonn IPH719, Rev. 0112008   1111111111111111111111111111111111111111111111
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                            Case 2:18-cv-00924-PD                          Document 15-7                   Filed 05/03/18                 Page 62 of 67




       • •
                               •
1--~;._--~~~~~~~1--~~~~~~~~------~----~
                                                             •
                                                           DESCRIPTION OF~
                                                                                             •                                4!)
                                                                                                                        PHYSICIAN ORDERS SHEET
                                                                                                                                                             •
                                                                                                     lHIS DRUG REACTION HISTORY MUST BE COMPlETEO BEfORE ~UG CAN BE DISPENSE~
                                                                                                      Age:                                 Gender.----~~...._-

 r:I CHECK HER£ IF PATIENT DENIES HISTORY OF ALLERGIES. SENSITMTIES OR ADVERSE REACTIONS           Care Unit:                                                     Shift:
             DATE       TIME      FAXED                                                                                                                                    TRANSCRIBED
                                                                                                  ORDERS                                                                       BY
                                                                             RESTRAINTS FOR NON-VIOLENT BEHAVIOR
                                                                              Restraint Assessment and~slclan Order
  2                                                                          D Initial Assessment              f Reassessment
                                             (Nurslna to Complete):
  3                                       A. Nursing Assessment:
                                                   be a.inent behavior:
                                                  Ung at LinesfTubes/Catheters/Oresslngs
                                                   ther--------------------~--
                                          B. Alternatives Tried                                            I            .
                                              "1'companlonship: family, friend volunteer      ~ Decrease Stimuli/Noise Reduction
                                            /0    ~ kin Sleeve                           ~ .::; tJlodify environment
  6                                            :; Increased checks and obseivaUon        ' 1 Close Obseivat1on
                                            t "" 'Bed alarm                                   ~ :Tolletlng/HydraUon (q 2 hours while awake)
  7                                          , ~ "Medication                                  ~ Reviewed/Assessed Medications and Lab values
                                             1 ~ pivoralon/Aetivity/Busy Box               ,; ~,Assessed for underlying problem
                                             1 ~ Positioning Pdlows                         ' 7" Assistance with toileting
 _8                                         ti_ Other: _____________ ;
  -

  9
                                          RN Signature:    ~-;;~t{t44fBtJ                                           Date:    /lJ/Rft<t      Time: <PiXJIJ
  10
                                          PHYSICIAN ORDERS (Physician to Complete):
  11                                      A.~ical Justification:
                                           p To protect against removal of Unes/Tubes/Catheters/Dressings.
  12                                      e. Time:
                                             APPLY FROM (TIME) d,()CX>                AM/PM TO (TIMe~OOO                    AM/PM -24 HOUR MAXIMUM
  J3
                                          C. Type of restraint:                                        L
  14                                         ~Soft Limb:                            O 1 Point        p 2 Point                O 3 Point
                                          /D Gerri Chair with Tray
  15                .                      0 Pook·a·boo Mitts
                                           ~ 3-4 Sideralls
  18
                                          ojzf    Attending physician notified of restraint

  17                                      E. Signatures:                                                 , /) /

  18                                      Date:lJJi.._   Time:~ Physician~
 ·19
                                          Date:   1°/K Time: 2d!::Q Nurse Signature and title 42.-.e~
  20                                      Date;_ llme:_ UnftSecretarySlgnature

 21


  22


' 23


Unless wntcen "Do Not Subsbtute" by the physician, &JlPl'OVal Is given that all ptiannaceubcals ordered by the trade names may be dispensed WJtll the genenc ortllerapeutac allemate In
stock as defined b'f !he Mercy Health System's Pharmacy & Therapeutic Corrimrt!ee of the Medlcal Staff.                                   •                       -
                               PLEASE NOTElll                 DO NOT.WRITE ON REVERSE SIDE OF THIS FORM.
 V Mercy Fitzgerald Hospital
       Amember of Mercy Heal1h System                                                            EFUNNUGA, OLUTOKUNBO
                                                                                                 DOB: 03/06/1979 37Y    M
 RESTRAINTS (NON.VIOLEN'ij
                                                                                                 Adm; 10/7/2016
                                                                                                 Ace: FA1307223089   MR#: F001250247


                                                                              Page 1 orz
                                                               Fonn tPH719, Rev. 0112008         1111111111111111111111111111111111111111111111
 1ASM.X.OTHERFI                                                          ASM.X.OTHER
                         Case 2:18-cv-00924-PD               Document 15-7           Filed 05/03/18         Page 63 of 67



A. iurslng to Complete):
                            •
       Family notified of restraint
                                                • •
       Patient/family educated regarding reason for restraint
                                                                                                   • •
       Restraint prevention and use identified on care plan
B. RESTRAINT PLAN OF CARE FOR NON-VIOLENT BEHAVIOR
    OBSERVE AND INTERACT WITH PATIENT AND PROVIDE PHYSICAL CARE,
    Check circulation In limbs - For the presence of pulses and good color- Provide every 2 hoµrs and more frequenUy if needed
     R_ange-of-motlon exercises and restraint release of all limbs one at a time· Provide every 2 hours and more frequenUy if needed
     Evaluate need for Food, Fluids, Hygiene and Tolletlng; provide every 2 hours and more frequently if needed
     PROVIDE SAFETY AND COMFORT MEASURES,
     Assess for signs of injury and skin integrity.
     ASSESS BEHAVIOR AND RESPONSE TO RESTRAINTS.
     Assess readiness for release
     Assess Behavior and enter number key that best desaibes behavior:
Behavioral Key:
1 .. Agitated           2 ":.' Confused       3 .. Uncooperative           4 =Forgetful             5 "' Restless
6 =Calmer               7 = Sleeping          8=    Follow;ng instructions 10"' resting
Type of Restraint Code:
 'A. Soft Umb          B. Geri chair with tray        c. Peek-a-boo Mitts             J2:. 3-4 Siderails
  Other interventions:         ~1!'1f I (l.dw> -6
  Plan of care Im lemented as above: Nurse's Si nature           .(}._..().~
                                Type                             Comments/Observations/Interventions         Assigned Staff Observer Signature
                                     Code




VMercy Fitzgerald Hospital
   Arniimb« QI Mercy Health System                                            EFUNNUGA, OLUTOKUNBO
                                                                              DOB: 03/06/1979   37Y    M
                                                                              Adm: 10/7/2016
RESTRAINTS (NON-VIOLENT)
                                                                              Ace: FAl307223089     MR#: FQOl250247

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tAS.\L X. OTHERFI                                Forni IPH719, Rev. 01/ZOOI
                                                            ASll.X.OTHER
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                                            Patient In!!tructions Signature Page
                                                      ~
                             •                    1
Patient Name·: EFUNNUGA,OLUTOKUNBO
Account 'NOmber: ·FA1307223089
Date of Birth: M.ar·6, 1979
                   '
Guardian Name: MOBLEY,SHE.REE

The above-named patient and/or guardian has received the following:
Pati~nt VJ sf t Report


        . ·-
 Patient.Instructions
'Aspiration P.lieumonia (DC)
  .                              -



RXM Orders




Signature Disclaimer
Please make sure you have read through this information before signing.

I have rea~ and understand the instructions given to me by my caregivers.



~~~~--------------------.::.11lll~.J..~.1~!~~-----------------
Print Patlent·Name
        .     -~
                   .·- .             \f ·


-------------~--------------------------------w-------••••••--•-••••----------------------------

                        .
Pati~nt (or Guar~ian) Signature                                    Date           Time


      }Jg
--- --- ·--:~-~-~-------~----------
              .        .
Caregiver/RN/Doct<?r. Slgnatur
                                            ---~~--------------~~-~~~------~-~~~~--------
                                                                   Date            Time




                                                 ------
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  USER: MT                                                                                                  Ambulatory Prescriptions and Procedures
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 A.CciOunt :Hj~at;M~ FA13o7223bs9•··················· . ·. . •••.. •                                                                                       ·.··············••ad:;li.tt-i.b.9 J:'~y$f®li: :llif~N.~~fQU•• Mn••••••·············•·H••·······
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     Prescriptions

                 Clotriaazole (Clotriaazole) 10 Mg Troche
                 10 MG MUCOUS MEM 5 TIMES DAILY    28 Days
                 Rx# 0000000183   Days: 28 Refills: 0
                 Entered Date: Oct 31, 2016 Compound Med: No
                 Ordering Provider: JADHGA     Location: FI4PVA
                 Diagnosis:

                 Latanoprost (Latanoprost) 2. 5 lU Drops
                 1 DROP BOTH EYES EVERY EVENING     28 Days
                 Rx# 0000000184   Days: 28 Refills: 0            DROPS
                 Entered Date: Oct 31, 2016 Compound Med: No
                 Instructions: 2.5 ML
                 Ordering Provider: JADHGA      Location: FI4PVA
                 Diagnosis:

                 Metoprolol Tartrate (Metoprolol Tartrate) 25 Mg Tablet
                 6.25 MG ORAL EVERY 12 HOURS    30 Days
                 Rx# 0000001015   Days: 30 Refills: 0           TABLET
                 Entered Date: Nov 1, 2016 Compound Med: No
                 Ordering Provider: SHETVI     Location: FI4PVA
                 Diagnosis:

                 Thera (Multivitam.in,Therapeutic) 1 Tab Tablet
                 1 TAB ORAL DAILY     30 Days
                 Rx# 0000001016   Days: 30 Refills: 0            TABLET
                 Entered Date: Nov l, 2016 Compound Med: No
                 Ordering Provider: SHETVI      Location: FI4PVA
                 Diagnosis:

                 Vitamin B-1 (Thiaaine HCl) 100 Mg Tablet
                 100 MG ORAL DAILY    30 Days
                 Rx# 0000001017   Days: 30 Refills: 0           TABLET
                 Entered Date: Nov l, 2016 Compound Med: No
                 Ordering Provider: SHETVI     Location: FI4PVA
                 Diagnosis:

                tralL\Dol HCl (tra1L\Dol HCl) 50 Mg Tablet
                50 MG ORAL EVERY 4 HOURS As needed for SEVERE PAIN 20 Days
                Rx# 0000001018     Days: 20 Refills: 0           TABLET
                Entered Date: Nov l, 2016 Compound Med: No
                Control Schedule: 4
                Ordering Provider: SHETVI       Location: FI4PVA
                Diagnosis:
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